UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x
JEAN JEAN, and KATHLEEN COMACK
Plaintiffs DOCKET NO. 3% a
-against-
COMPLAINT
Jury Trial Demanded
THE DEPARTMENT OF EDUCATION OF
THE CITY OF NEW YORK,
Defendant
x

PLAINTIFFs Jean Jean and Kathleen Comack (“Plaintiffs”) proceeding Pro Se, as and for their
Summons and Complaint filed to protect Constitutional rights against the above-captioned THE
DEPARTMENT OF EDUCATION OF THE CITY OF NEW YORK (henceforth “Defendant”)

allege upon knowledge as to their own facts and upon information and belief as to all other

matters:
PRELIMINARY STATEMENT
1. This is a civil action seeking injunctive relief, monetary relief, including past and on-

going economic loss, compensatory and equitable damages for the discrimination and hostile
work environment imposed on them solely due to their religious beliefs and medical conditions
which prohibited them from getting the COVID vaccine. Both were stellar teachers, Plaintiff
Jean for 17 years and Plaintiff Comack for 34 years, and they both had tenure. Defendant refused
to recognize Plaintiffs’ protected religious beliefs and medical issues and punished Plaintiffs for

“misconduct/insubordination” by remaining unvaccinated. Plaintiffs were removed from their
salaries, threatened with immediate termination, harassed and subjected to a hostile atmosphere
in their workplaces while suddenly placed into the “Problem Code” database.

2. Plaintiffs bring this action under 42 U.S.C. § 1983 and §1981; Title VII of the Civil
Rights Act of 1964, as codified, 42 U.S.C. §§2000 et seq.,citing discrimination; violation of
ADA/504 Rehabilitation Act; Stigma Plus pursuant to the flag placed on Plaintiffs’ fingerprints
(“Problem code”); First, Fifth and Fourteenth Amendments of the United States Constitution;
Education Law §3020 and §3020-a; Human Rights Law both City and State, and those parts of
the New York State Constitution which similarly apply with like language and together with this
Court's pendent jurisdiction over causes of action arising under New York State laws, both
common and statutory, including breach of the UFT-DOE contract (“CBA”);
NYSHRL,NYCHRL and N.Y.C. Admin. Code §8-107(3)(a), State laws governing employment,
seeking monetary and declaratory relief against Defendant for committing acts with the intent
and for the purpose of depriving Plaintiffs of Constitutionally protected property and liberty
rights pursuant to their tenured status, without procedural and substantive due process and for
refusing to or neglecting to prevent such deprivations and denials to Plaintiffs.

3. Plaintiffs, both senior tenured teachers, were deliberately and intentionally discriminated
against, harassed and forced to resign/retire from their jobs solely because of their being unable
to get the vaccine due to sincerely-held religious beliefs (Plaintiff Jean) and medically disabling
conditions that prohibited the injection with the COVID Vaccine (Plaintiff Comack). As a result,
Plaintiffs were forced to resign/retire after they could not withstand the discrimination and
harassment from co-workers and others.

4. Neither Jean nor Comack received any accommodation from Defendant and neither were

given a §3020-a due process arbitration on the validity and/or details of their
“misconduct/insubordination” for which they were placed into the Problem Code database. New
York State Education Law §§3020 and 3020-a and the United Federation of
Teachers’/Department of Education Collective Bargaining Agreement (“CBA”), Article 21G,
mandates a full and fair arbitration hearing before any reduction of salary. This was ignored by
Defendant.
4. Plaintiffs completed all the necessary actions and appeals available to them, including
filing an appeal of the denials of their requests and appeals for religious exemption and medical
accommodation. However, the Defendant never gave any meaningful reason for the denials.
Both filed Notices of Claim which have not been resolved by Defendant.
5. Defendant secretly charged Plaintiffs with misconduct/insubordination, changing their
terms of employment by placing their fingerprints into the “Problem Code” database without
their knowledge or consent, and never gave them a hearing where they could clarify and
particularize their reasons for not getting the COVID vaccination.
6. Defendant claimed “undue burden” while simultaneously omitting information of their
long-term policy re-assigning employees to “rubber rooms”, some of which held about 2000+
employees from 2002 until 2010. After 2010 Defendant scattered the re-assigned employees who
could not be near children to rooms throughout New York City. The re-assigned employees not
only were not told what they were guilty of, but were awaiting charges of incompetency or
misconduct for some act that never happened. A problem code was put on these re-assigned
employees when they were removed from their classrooms and school. Some remained
reassigned to the rubber room for more than 7-15 years. All reassigned personnel received their
full salary and benefits while they waited for a hearing unless they were removed from salary at

a probable cause hearing. During the pandemic, the re-assigned employees awaited their §3020-a
hearings at home. Defendant could have given all the so-called “miscreants” similarly
unvaccinated as Plaintiffs, a reassignment to home or a rubber room. Defendant chose to claim
that no accommodation was available and any accommodation was an “undue burden”.
7. But for the approval of the denial of protected rights by the Defendant, Plaintiffs were
maliciously and in bad faith harassed into leaving their jobs and stigmatized permanently by
being placed on the Ineligible/Inquiry or "no hire" Problem Code List.
8. Defendant’s deliberate targets were employees similarly situated as the Plaintiffs here,
who had high salaries and — worst of all — tenure. Tenure is public policy in New York State and
gives, by law, Constitutionally protected property and liberty rights to continued employment.
Defendant never liked this policy. Defendant wanted — and succeeded — in fraudulently harassing
and discriminating against Plaintiffs to get them out of their positions quickly, without due
process.
9. Plaintiffs request (1) backpay and all benefits and pension steps due after Defendant’s
violations of law, public policy and rights removed them from their salaries under color of law
and deprived them of Constitutionally protected due process; (2) reinstatement to their former
positions with a salary that reflects 2 % years of missing time and wages, with pension steps and
raises included; (3) judgment against Defendant for refusing to or neglecting to prevent such
deprivations and denials to Plaintiffs.

PARTIES
10. Plaintiff Jean Jean was an employee for the Department of Education of the City of New
York in good standing as a special education teacher for more than 17 years. She was a stellar
part of the special education team, and had an impeccable reputation. Jean had a Masters +30

credits and worked remotely through the pandemic until ordered by Defendant to return to her
classroom in September 2021. She was harassed into resigning against her will on October 18,
2021. Jean filed a Notice of Claim after finding out that she was still on the Problem Code in
February 2023.

11. | While a tenured teacher, Jean had Constitutional rights, including protected liberty and
property rights, to her position. She also worked with children who received Federal funds for
their special services. At all times relevant herein, Plaintiff was a public employee of Defendant
within the meaning of New York State Civil Service Law § 75- b(1)(b).

12. Plaintiff Kathleen Comack started work at the NYC Department of Education in
September 1987. She was a highly effective math teacher beloved by all, until she was harassed
and discriminated against in September 2021 for not getting the COVID vaccine, and was forced
to retire from her job under duress against her will under fraudulent circumstances. Comack filed
a Notice of Claim against the Department in February 2023, after she became aware that she
remained on the problem code.

13. | While a tenured teacher, Comack had Constitutional rights, including protected liberty
and property rights, to her position. At all times relevant herein, Plaintiff was a public employee
of Defendant within the meaning of New York State Civil Service Law § 75- b(1)(b).

14. At all relevant times, Defendant have overseen the NYC system of public schools located
throughout all five (5) boroughs of the City of New York and been and continues to be

recipients of substantial federal funds, and as such, subject to the mandates under Title VII of the
Civil Rights Act of 1964, the Education Law, and the First, Fifth and Fourteenth

Amendments to the United States Constitution, which prohibit any diminution of tenure rights
without Just Cause.

JURISDICTION AND VENUE
15. This Court has subject matter jurisdiction pursuant to NYCHRL, NYSHRL, Civil Rights
Act of 1964 and §1605.2 Reasonable Accommodation, 42 U.S.C. 2000e(f)(3) et Seq. (“Title
VII”), 504 Rehabilitation Act, and Education Law §§3020 and 3020-a.

16. This Court has additional jurisdiction over the subject matter of this action pursuant to 28
U.S.C.§1331, and 28 U.S.C 1343(2)(4); and 42 U.S.C. §1981, et seq. for claims arising federal
questions under 42 U.S.C. 1983, in particular the protections given by the Free Exercise Clause,
Equal Protection, First, Fifth and Fourteenth Amendments to the Constitution.

17. Defendant’s actions cited herein were pursued intentionally in violation of Federal
Statutes under color of state law, including discrimination, fraudulent misrepresentation of the
nature and consequences of the COVID Vaccine Mandate (“CVM7”) and retaliation.

18. This Court has supplemental jurisdiction, pursuant to 28 U.S.C. §1367(a), as well as state
law pursuant to claims codified in the New York City Human Rights Law (““NYCHRL”) as
Administrative Code §8-107, in that such claims are so related to Plaintiffs’ claims within the
original jurisdiction of this Court that they form part of the same case or controversy.

19. This Court has pendent and supplemental jurisdiction over Plaintiffs’ state law and city
law claims, as the facts that form the basis of the state and city law claims are substantially
similar to the facts that form the basis of the federal law claims. Defendant was at all times
acting under color of law in breaching their covenant of good will and fair dealing with the
Plaintiffs as well as committing fraud in the inducement.

20. This action’s venue properly lies in the United States District Court for the Eastern
District of New York, pursuant to 28 U.S.C. § 1391, because the headquarters of the New York

City Department of Education is located at 65 Court Street, Brooklyn, N.Y.
STATEMENT OF RELEVANT FACTS

Plaintiff Jean Jean

21. Plaintiff, a stellar tenured special education teacher in charge of programs and services
funded by the Federal government through Defendant her employer, was unlawfully deprived of
freedom from abuse of process and malicious prosecution, stigma plus character defamation and
diminution of her tenure rights due to her religious beliefs that prohibited her from getting the
COVID vaccine.

22. Plaintiff Jean had an impeccable reputation, with a Masters Degree + 30 credits. She
worked remotely during the pandemic and she was highly effective at all times, for more than 17
years starting in 1999,

23. On September 15, 2021 the Commissioner of the Department of Health, Dr. Dave A.
Chokshi, issued a COVID mandate for DOE employees which did not give any exemption for
religious beliefs nor accommodations for medical conditions but did give this notice which
Defendant ignored:

“Nothing in this Order shall be construed to prohibit any reasonable accommodations otherwise
required by law.” (6)

(EXHIBIT A)

Jean suffered extreme emotional trauma knowing that she would have to choose between her
career or her religion. In fact, beginning in August 2021, the Commissioner, working together
with the Mayor’s office, issued over a hundred “emergency” orders that collectively functioned
to mandate the COVID vaccine (“CVM7”) for nearly every working person in the City. But not
everyone was required to take it. At the behest of his top donors, in Executive Order 62

(EXHIBIT B) Mayor Adams carved out exemptions for professional athletes, performers, and
their entourages, election workers, school bus drivers and delivery personnel, as well as most of
the private sector. All got unilateral exemptions.

24. On September 10, 2021, Martin Scheinman, issued an Award after he was asked to be a
mediator in negotiations on the CVM with the United Federation of Teachers (UFT) and the
Defendant. He was then appointed arbitrator to decide on the process for all appeals of
unvaccinated employees who worked for the Department of Education. He created very specific
criteria for religious exemptions or medical accommodations that made no one happy and
revealed his — and Defendant’s — real motive: remove as many senior educators from the public
schools of New York City. Scheinman gave his own Company, Scheinman Arbitration and
Mediation Service, Inc (“SAMS”) the business to decide appeals of religious exemptions and/or
medical accommodations which had already been denied by the Defendant. No exemptions or
accommodations were granted. His criteria were obviously discriminatory. EXHIBIT C.

For example, medical accommodation would be given to:

e “medical accommodation requests where an employee is unable to mount an
immune response to COVID-19 due to preexisting immune conditions and the
requested accommodation is that the employee not appear at school.” (p. 7)

e “Full Medical Exemptions to the vaccine mandate shall only be considered where
an employee has a documented contraindication such that an employee cannot
receive any of the three (3) authorized vaccines (Pfizer, Moderna, J&J)- with
contraindications delineated in CDC clinical considerations for COVID-19
vaccination. Note that a prior allergic reaction to one (1) type of vaccine will be a
precaution for the other types of vaccines, and may require consultation with an
allergist.”

e “Temporary Medical Exemptions to the vaccine mandate shall only be based on
the following valid reasons to defer or delay COVID-19 vaccination for some
period:

*Within the isolation period after a COVID-19 infection;

*Within ninety (90) days of monoclonal antibody treatment of COVID-19;
*Treatments for conditions as delineated in CDC clinical considerations, with
understanding CDC guidance can be updated to include new considerations over
time, and/or determined by a treating physician with a valid medical license
responsible for the inununosuppressive therapy, including full and appropriate
documentation that may warrant temporary medical exemption for some period of
time because of active therapy or treatment (e.g., stem cell transplant, CAR T-
cell therapy) that would temporarily interfere with the patient's ability to respond
adequately to vaccination;
*Pericarditis or myocarditis not associated with COVID-19 vaccination or
pericarditis or myocarditis associated with COVID-19 vaccination.” (p. 8)

25. For religious exemptions the criteria were also very limited:

e “Religious exemptions for an employee to not adhere to the mandatory
vaccination policy must be documented in writing by a religious official (e.g.,
clergy) . Requests shall be denied where the leader of the religious organization
has spoken publicly in favor of the vaccine, where the documentation is readily
available (e.g., from an online source), or where the objection is personal,

political, or philosophical in nature. Exemption requests shall be considered for
recognized and established religious organizations. (e.g. Christian Scientists)

(p. 9)
26. The specific details for the granting of religious exemptions and medical
accommodations that were cited in the Award of Martin Scheinman were considered the
“challenged criteria” and “constitutionally unsound” by the Court of Appeals in the case
Kane/Keil v The City of New York (21-cv-2678) on November 28, 2021. A merits panel later re-
labelled the Citywide Reasonable Accommodation Panel was set up in place of
SAMS.(EXHIBIT D) The Court of Appeals merit panel concluded "It is, of course, true that the
citywide panel must abide by the First Amendment. By ordering the citywide panel's
proceedings to abide by applicable law, the Motions Panel Order does not (and could not)
suggest that the First Amendment is somehow inapplicable to those proceedings.” It also
reaffirmed that a fresh consideration of people's request for religious accommodation was
required.. They wrote, “In addition to the First Amendment such consideration shall adhere to
the standards established by Title VII of the Civil Rights Act of 1964, the New York State
Human Rights Law, and the New York City Human Rights Law.” Unfortunately, simply

ordering an action does not get it implemented.
27. Neither Commissioner Chokshi, Arbitrator Scheinman, nor Mayor Adams had a legal
right to change the terms of employment of the Defendants in terms of leave, salary, and/or
vaccinations, First, vaccinations are not mentioned in the CBA. Second, Article 16 in the CBA
says that the employee may ask for a leave without pay. There is no mention of the Employer
forcing a leave/suspension without pay unless the employee is given a probable cause hearing for
serious crimes such as bringing heroin into a school building or having sex with a child in the
classroom. Plaintiff's ‘crime’ of not getting vaccinated was made up and legally null and void.
28. Scheinman apologized for destroying the due process rights of tenured Department
employees in a second Award issued on June 27, 2022. He wrote that he had created the LWOP
to satisfy the circumstances at the time:

“... While the Department claims its action is unconnected with the Award, it is the
Award itself that created a new leave without pay. Absent the Award, the Department
was without the authority to remove these employees from the payroll without providing
a due process hearing.

Leave without pay is an unusual outcome. Yet, I decided it was appropriate for
employees whose requests for a medical or religious exemption were denied. This is
because such employees intentionally decided to disregard the mandate they be
vaccinated by September 27, 2021, the date established by Commissioner Chokshi and
Mayor de Blasio.”

Graff adds:

“First, Scheinman's words establish that but-for the Award, the NYCDOE could not have
placed the Plaintiffs on leave without pay....Scheinman's words are additional evidence
that the Plaintiffs have stated a plausible claim against the NYCDOE for a violation of 42
U.S.C. § 1983 meaning the NYCDOE's Motion to Dismiss should be denied.

Second, it was Scheinman who "created a new leave without pay” by issuing the Award.
Scheinrnan establishes, by his own words, that he actively participated in the violation of
the Plaintiffs’ due process rights by “creat[ing] a new leave without pay" policy.
Scheinman ...actively created new policy that, as Scheinman admits, but-for his Award,
"the Department was without the authority to remove these employees from the payroll
without providing a due process hearing..... admitting that his actions caused the
Plaintiffs to "suffer[] a denial of [their] federal statutory rights, or [their] constitutional
rights or privileges." Annis v. County of Westchester, 136 F.3d 239,245 (2d Cir. 1998).”

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Scheinman had no authority to alter the terms of the Plaintiffs employment. See Attorney Austin
Graff's letter, EXHIBIT E, and the Scheinman Award June 27, 2022 EXHIBIT F.

28. As it turned out, the Citywide Panel was no better at providing due process than the
Scheinman Group. The process for determining religious exemptions and medical
accommodations became clouded in mystery. No one knew who was on the Panel or what the
criteria was to get the relief requested. The Department gave unsubstantiated statements that 163
unvaccinated applicants out of more than 600 who applied were given approval, but then no one
really went back to work. Defendant used the “undue hardship” card. What they meant by undue
hardship no one knew then or now, because there was no interactive dialogue, and no facts
supporting these words.

29. Plaintiff Jean, after receiving daily emails about the vaccine from the DOE urging her to
get vaccinated, and harassing statements and visits from the administrators at her school, sent in
to HR’s SOLAS website a request for a religious exemption from the vaccine in September
2021. She received her denial of her appeal from Martin Scheinman on 9/24/21. Scheinman sent
her his answer: “Denied” (EXHIBIT G) without any explanation...just an “X” in the small box
next to “Denied”. Jean appealed the decision, but was denied on or about October 7, 2021.

30. On October 4, 2021 Jean was removed from salary and put on leave without pay or “LWOP”
as the lingo goes. See EXHIBIT H. This leave is unique, as the terms of Plaintiff Jean’s
employment was trashed, in favor of her being left without anything...no job, no health
coverage, no salary steps. Nothing.

30. Also on October 4, 2021 Jean’s fingerprints were given a flag/code known as a “Problem
Code” and placed onto Defendant’s Galaxy (budget) database used by the FBI and the

Department of Labor Unemployment Board (UIAB). Anyone with the flag or Code on their

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fingerprints cannot get paid by the Defendant or any of the thousands of vendors working in the
City of New York. This scarlet letter is extremely damaging to Jean’s career and character. See

the following post on Parentadvocates.org:

“The New York City Department of Education's "Problem Code" is an Unlawful Flag on

an Employee's Fingerprints”
https://www.parentadvocates.org/index.cfm?fuseaction=article&articleI[ID=8884

The Code is accessible by government agencies and principals, and UFT Representatives, among
others. The label means that the individual has committed misconduct, and that Scheinman gave
false information in his September 10 Award when he wrote that LWOP was not disciplinary. It
was, and he knew it. He wrote and negotiated the CBA for the UFT.

31, On October 18, 2021, after Plaintiff Jean was denied her religious exemption appeals,
removed from her salary, told by her AP that she could not work on LWOP, harassed and
ridiculed at work as if she had the Plague or AIDS, she resigned from her position at the
Department after doing absolutely nothing wrong except believing in a God who would protect
her from the unproven experimental vaccine. This United States of America stands on religious
freedom, but not for Plaintiff Jean, and not in New York City in October 2021.

Plaintiff Kathleen Comack

32. Plaintiff Comack started her stellar career with the Department of Education in 1987. She
is a tenured math teacher with certain documented medical conditions that preclude her getting
vaccinated with the COVID vaccine. This is a situation of Comack having to decide between her
illustrious career or her life and health. On September 17, 2021 Comack submitted to the
Department’s HR SOLAS a vaccine medical mandate exemption letter written by her doctor Dr.

Antonio Madrid, at St. Francis Heart Hospital. EXHIBIT I

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33. On September 22, 2021 her request for a medical accommodation was denied. Defendant
gave the reason as “Request denied — condition not valid to defer or delay vaccine”. EXHIBIT J.
Comack filed an appeal on September 23, 2021 with SAMS, but this was denied on October 5,
2021 by Arbitrator Carol Hoffman. Hoffman put an “X” in the box next to “Denied”, just like
Scheinman did in Jean’s appeal. EXHIBIT K
34. On October 3, 2021 Plaintiff Comack received an email from her Principal, Peter Leddy,
telling her that if she was granted her exemption the Department had administrative offices
available for the unvaccinated employees given similar accommodation. EXHIBIT L. This
exposes the reassignments that could have been given under the accommodations available in the
Department. But the Defendant never clarified how many offices were available, and never gave
any details about what they meant by “undue burden”.
35. On October 4, 2021 Comack did not submit a valid vaccination card and her personnel
file was flagged with a Problem Code. She was removed from payroll under LWOP (EX. G) on
October 7, 2021, and on the following day Comack submitted her retirement papers, way too
soon — at the age of 59 — and against her will, under duress.

CAUSES OF ACTION

AS AND FOR A FIRST CAUSE OF ACTION:
RELIGIOUS DISCRIMINATION (Plaintiff Jean Jean)

36. Plaintiff repeats, reiterates, and realleges each and every allegation contained in
paragraphs | through 35 as if the same were fully set forth at length herein.

37. Plaintiff has sincerely held religious beliefs which forbid her from getting vaccinated
with the COVID-19 vaccine, yet Defendant flagged her personnel file with a “Problem Code”,

barring her from getting paid for any work by any school in the NYC public school system, and

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creating a new category of misconduct in public employment: “Insubordination by unvaccinated
employee”.

38. Defendant had knowledge of Plaintiff’s sincerely-held religious beliefs yet chose to
ignore these beliefs, denied her exemption requests without attempting to give any details or
accommodation, and terminated her long-term, excellent employment. This directly contradicts
the ruling in Groff v Dejoy, U.S. Supreme Court Docket 22-174, June 29, 2023 :

“The Court holds that showing “more than a de minimis cost,” as that phrase is used in common
parlance, does not suffice to establish “undue hardship” under Title VII. ..... What is most
important is that “undue hardship” in Title VII means what it says, and courts should resolve
whether a hardship would be substantial in the context of an employer’s business in the
commonsense manner that it would use in applying any such test..... Further, a hardship that is
attributable to employee animosity to a particular religion, to religion in general, or to the very
notion of accommodating religious practice, cannot be considered “undue.” Bias or hostility to a
religious practice or accommodation cannot supply a defense.”

39. In the new category of “insubordinate employee” and “unvaccinated”, Plaintiff was not
only removed unfairly and without due process from her job, but ostracized and humiliated by
her peers both inside and outside of the workplace. She was discriminated against because of her
religious beliefs.

40. Defendant subjected Plaintiff to discrimination on the basis of her religion, unlawfully
discriminating against her in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
20008, et seq., 42 U.S.C. § 1983; N.Y. Executive Law§ 296 (New York State Human Rights

Law); and N.Y.C. Human Rights Law.

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AS AND FOR A SECOND CAUSE OF ACTION:
PLAINTIFF JEAN WAS DEPRIVED OF HER
FIRST AMENDMENT RIGHT TO FREE SPEECH AND RELIGION

41. Plaintiff repeats, reiterates, and re-alleges each and every allegation set forth above in
paragraphs | through 40 as if the same were fully set forth at length herein.
42. As aresult of the Defendant’s actions and in actions as set forth above, Plaintiff has been,
and continues to be, deprived of her Federal rights under 42 U.S.C., Section 1983 and the
Fourteenth Amendment due process rights, applying the First and Fifth Amendments’ rights of
the U.S. Constitution.
43. Asaresult of defendant’s actions, Plaintiff suffered and was damaged.
44. Defendant has deprived plaintiff of such rights under color of State Law.
45. By reason of the foregoing, Defendant unlawfully discriminated against Plaintiff as to the
terms, conditions and privileges of employment, in that Defendants did not allow her to practice
her religion, which caused her to resign under duress and against her will.
46. These acts by Defendants are in violation of Plaintiff's rights to practice her religion
guaranteed under the First Amendment to the United States Constitution.

AS AND FOR A THIRD CAUSE OF ACTION:

FAILURE TO REASONABLY ACCOMMODATE PLAINTIFFS
(All Plaintiffs)

47. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in paragraphs
1 through 46 as if the same were fully set forth at length herein.
48. Plaintiffs have sincerely held religious beliefs and documented medical issues which
forbid them from getting vaccinated with the COVID-19 vaccine.

49. Defendant, the Plaintiffs’ employer, had actual knowledge of the Plaintiffs’ sincerely

held religious beliefs and medical condition.

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50. Defendant had knowledge of Plaintiffs’ sincerely-held religious beliefs and medical
issues yet chose to ignore these beliefs, denied them their exemption requests and Appeals
without any further details or reason, and forced them to remove themselves from their hostile
workplace.

51. | No reasonable accommodation was offered to the Plaintiffs, despite the Department’s
policy of re-assigning employees sometimes up to 15 years on full salary in a “rubber room”
when he/she is believed to have committed any kind of misconduct. Defendant should have, and
could have, placed Plaintiffs into a re-assignment location until the CVM ended, but the
Defendant did not do that.

52. Defendant gave Plaintiffs no opportunity to give arguments in support of their sincere
religious beliefs at a hearing where they could be heard for more than 10 minutes, and this is
mandated by law (Education Law 3020-a). Defendant set up a timeline that deprived Plaintiffs of
any possibility of complying. Thus the due process deprivation in this matter was deliberate and
intentional.

53. In conflict with the mandate guaranteeing all citizens the right to their religious beliefs,
and medical accommodations Defendant did not honor this law of the land and removed
Plaintiffs from their salaries without any interactive process to discover any reasonable
accommodation nor any due process hearing.

54. Based on the foregoing, the Defendant failed to provide a reasonable accommodation and
as a result, discriminated against the Plaintiffs unlawfully in the terms and conditions of their
employment on the basis of her religion and medical issues, in violation of Title VII of the Civil
Rights Act of 1964, 42 U.S.C. § 2000e, et seq., 42 U.S.C. § 1983; N.Y. Executive Law§ 296

(New York State Human Rights Law); and N.Y.C. Human Rights Law.

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AS AND FOR A FOURTH CAUSE OF ACTION:
VIOLATION OF ADA/504 REHABILITATION ACT
(All Plaintiffs)
55. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in paragraphs |
through 54 as if the same were fully set forth at length herein.
56. The Rehabilitation Act is codified under Title 29 (29 U.S.C. § 794(a)) and 29 C.F.R. §
33.13. The Rehabilitation Act protects disabled persons from discrimination in the
provision of public services. Section 504 of the Rehabilitation Act provides that “[n]o
otherwise qualified individual with a disability, shall, solely by reason of her or his
disability, be excluded from the participation in, be denied the benefits of, or be subjected
to discrimination under any program or activity receiving Federal financial assistance.”
29 USC § 794(a).
57. Section 504 of the Rehabilitation Act, codified at 29 U.S.C. § 794 (hereinafter referred to
as “Section 504) provides that, no otherwise qualified individual with a disability...shall, solely
by reason of her or his disability, be excluded from the participation in, be denied the benefits of,
or be subjected to discrimination under any program or activity receiving Federal financial
assistance...” 29 U.S.C. § 794(a).
58. Retaliation claims are analyzed under the same framework as Americans with Disabilities
Act (“ADA”) claims, the elements of which to prove a prima facie case being, “(I) a
Plaintiff was engaged in protected activity; (11) the alleged retaliator knew that
Plaintiff was involved in protected activity; (iii) an adverse decision or course of action
was taken against Plaintiff; and (iv) a causal connection exists between the protected
activity and the adverse action.” Weixel v. Bd. of Educ. of City of New York, 287 F.3d

138, 148 (2d Cir. 2002); citing Weissman v. Dawn Joy Fashions, Inc., 214 F.3d 224, 234

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(2d Cir. 2000). The Plaintiff's burden at this prima facie stage is de minimis. Treglia v.

Town of Manlius, 313 F.3d 713, 719 (2d Cir. 2002).

59. Once the Plaintiff establishes a prima facie case of retaliation, the burden shifts to the
Defendant to articulate a legitimate, non-retaliatory reason for the challenged

employment decision. Thereafter, if a Defendant meets this burden, the Plaintiff must

point to evidence that would be sufficient to permit a rational factfinder to conclude that

the employer’s explanation is merely a pretext for impermissible retaliation. Cifra v. Gen.
Elec. Co., 252 F.3d 205, 216 (2d Cir. 2001).

60. Here the reasons cited by the Defendant are not rational. The Department claimed that the
Plaintiff Comack engaged in employee misconduct when she could not get the COVID vaccine
due to her medical issue, and then made her workplace so hostile that Plaintiff, a teacher with
tenure, was forced to retire when she very much wanted to remain and needed to continue to
work with her students.

61. Plaintiffs both have clearly satisfied the first element of a prima facie claim under the
Rehabilitation Act, as they were engaged in protected activity. Comack as a person with a
medical issue and Jean as a teacher of special needs students. See Treglia v. Town of Manlius,
313 F.3d 713, 719 (2d Cir. 2002) (in defining protected activity under the Title VII framework).
62. Plaintiffs have satisfied the second element of setting forth a prima facie claim for
retaliation under Section 504 of the Rehabilitation Act, as they have demonstrated that
Defendant was aware of their protected activities.

63. Plaintiffs have satisfied the causal connection for setting forth a prima facie claim for
retaliation under Section 504 of the Rehabilitation Act as they have shown they were forced to

resign/retire from their work solely because of her medical issues against her getting the vaccine.

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64. By reason of the foregoing conduct, the Defendant has acted in bad faith and has violated
504 of the Rehabilitation Act.
AS AND FOR A FIFTH CAUSE OF ACTION:
VIOLATION OF THE FOURTEENTH AMENDMENT
EQUAL PROTECTION CLAUSE
(All Plaintiffs)
65. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in paragraphs
1 through 64 as if the same were fully set forth at length herein.
66. Defendant while acting under the color of law unlawfully deprived the Plaintiffs of their
right to Equal Protection of the Laws, guaranteed by the Fourteenth Amendment of the United
States Constitution, in that they engaged in selective enforcement of their own laws, rules,
regulations, and ordinances against Plaintiffs based upon the Plaintiffs’ religion (Jean),
Plaintiff's medical issues against getting the vaccine (Comack) and both Plaintiffs’
constitutionally protected conduct. In so doing, Defendants intentionally and, with malicious
intent and bad faith, intended to injure Plaintiffs, selectively treated Plaintiffs differently from
other similarly situated employees, and acted with no rational basis for the difference in
treatment. Defendants’ conduct was intentional, conducted with bad faith, wholly irrational and
was acted on in such a way as to harm the Plaintiffs.
67. In Garvey c City of NY (Index No. 85163/2022), Judge Ralph Porzio wrote in his
decision:
“Petitioners — all but one — applied for exemptions from the mandate. They received generalized
and vague denials. During that time their exemptions were being processed, they remained

unvaccinated. This was no reason that they could not continue to submit to testing and continue

to fulfill their duties as public employees. This was no reason why the City of New York could

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not continue with a vaccine or test policy, like the Mayor’s Executive Order that was issued in
August 2021...... ”

and,

“Though vaccination should be encouraged, public employees should not have been terminated
for their non-compliance....The Health Commissioner cannot create a new condition of
employment for City employees. The Mayor cannot exempt certain employees from these orders.
Executive Order 62 renders all of these vaccine mandates arbitrary and capricious....prohibit an
employee from reporting to work.”

68. Asadirect result of Defendant’s violation of the Plaintiffs’ Fourteenth Amendment rights
of equal protection, Plaintiffs have suffered irreparable harm for which there is no adequate
remedy of law.

69. Asadirect result of Defendant’s violation of Plaintiffs’ Fourteenth Amendment rights of
equal protection under the law, as alleged herein above, Plaintiffs have suffered and are entitled
to recover compensatory and nominal damages including backpay.

AS AND FOR A SIXTH CAUSE OF ACTION: FRAUD IN THE INDUCEMENT TO
DENY PLAINTIFFS THEIR PROPERTY AND LIBERTY RIGHTS TO A DUE
PROCESS HEARING AS TENURED TEACHERS MANDATED BY EDUCATION LAW
§3020 AND §3020-A
70. ‘Plaintiffs repeat, reiterate, and reallege each and every allegation contained in paragraphs

1 through 69 as if the same were fully set forth at length herein.

71. — Plaintiffswere punished with wrongfully being held as insubordinate for their
“insubordination” in not getting vaccinated with the COVID vaccine

72. Education Law Section §3020 , Chapter 16, Title 4, Article 61 states as follows:

“Discipline of teachers.

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1. No person enjoying the benefits of tenure shall be disciplined or removed during a term of
employment except for just cause and in accordance with the procedures specified in section
three thousand twenty-a of this article”

and,

2. No person enjoying the benefits of tenure shall be suspended for a fixed time without pay or
dismissed due to a violation of article thirteen-E of the public health law. .... (iii) the provisions
of subdivisions one and two of this section shall not apply to agreements negotiated pursuant to
this subdivision...”

73. Plaintiffs did not, at any time, waive their rights to a §3020-a hearing on their religious
exemption and medical accommodation requests. They wanted their due process to be honored.
Instead, they were declared insubordinate by the Department, their personnel files were flagged
and their fingerprints tagged with a with a “Problem Code” designating misconduct and put into
the same database used by the FBI.

74. | The United States Supreme Court has defined waiver as "an intentional relinquishment or
abandonment of a known right or privilege. Johnson v. Zerbst, 304 U.S. 458, 464 (1938). Courts
should "indulge every reasonable presumption against waiver, Aetna Ins. Co. v. Kennedy, 301
U.S. 389, 393 (1937), and they should "not presume acquiescence 526*526 in the loss of
fundamental rights," Ohio Bell Tel. Co. v. Public Utilities Comm'n,301 U.S. 292, 307 (1937). In
Carnley v. Cochran, 369 U.S. 506 (1962), the Court held:

"Presuming waiver from a silent record is impermissible. The record must show, or there must be
an allegation and evidence which show, that an accused was offered counsel but intelligently and

understandably rejected the offer. Anything less is not waiver." Id., at 516.

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75. Additionally, a waiver of a teacher's tenure rights must be knowingly and freely given
(Matter of Gould v. Bd. of Educ. of the Sewanhaka CHSD, et al., 81 NY2d 446; Matter of
Abramovich v. Bd. of Educ. of the Three Villages CSD No. 1, 46 NY2d 450).

76. | Tenured teachers have a property and liberty right to their jobs, and therefore when there
is any penalty that reduces the benefits of these rights, there must be Just Cause. Judge Desmond
Green in the Richmond County Supreme Court ruled in the case of Rosalie Cardinale that:
“New York State created the public school tenure system guaranteeing continued employment to
tenured teachers by statute and therefore created a property right in a tenured teacher's continued
employment. (See Education Law§§$§ 3012, 3012- a, 3020, Holt v. Board of Educ. Of Webutuck
Cent. School Dist., 52 NY2d 625 [1981], Matter of Abromovich v. Board of Educ. of Cent.
School Dist. No. I of Towns of Brookhaven & Smithtown, 46 NY2d 450 [1979]). Where a
property right in continued employment exists, such as New York's tenure system, the recipient
of such a right may not be deprived without due process. See Cleveland Bd. of Educ. v.
Loudermill, 470 U.S. 532, 538 [1985].

New York State guarantees a tenured teacher's due process rights to continued employment by
statute requiring that "no [tenured teacher] ... shall be disciplined or removed during a term of
employment except for just cause and in accordance with the procedures specified in section
three thousand twenty-a of this article or in accordance with alternate disciplinary procedures
contained in a collective bargaining agreement ... " Education Law § 3020.”

76. Based on the foregoing, the Defendant failed to provide either a reasonable
accommodation for Comack’s medical issues and Jean’s religious beliefs and as a result,
discriminated against the Plaintiffs on the basis of their religion and medical status, unlawfully

discriminating against the Plaintiffs in the terms and conditions of their employment in violation

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of Education Law §3020, §3020-a, Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e,
et seq., 42 U.S.C. § 1983; N.Y. Executive Law§ 296 (New York State Human Rights Law); and
N.Y.C. Human Rights Law.
AS AND FOR A SEVENTH CAUSE OF ACTION:
THE PROCESS USED TO IMPLEMENT THE COVID MANDATE
VIOLATED ARTICLE I §XI OF THE NEW YORK STATE CONSTITUTION
AND THE EQUAL PROTECTION CLAUSE
(All Plaintiffs)
77. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in paragraphs
1 through 76 as if the same were fully set forth at length herein.
78. Few things are more violative of the equal protection clause than the CVM. The N.Y.
Constitution Article I §XI states: “No person shall be denied the equal protection of the laws of
this state or any subdivision thereof.” New York State’s equal protection clause is identical in
breadth to its federal counterpart. See Dorman v. Castro, 214 F.Supp.2d 299 (E.D.N.Y. 2002). It
is the law of the land that the purpose of the equal protection clause is to keep “governmental
decision-makers from treating differently persons who are in all relevant aspects alike.” Nicholas
v. Tucker, 114 F.3d 17, 20 (2d Cir.1997). Under the equal protection clause, the government
must treat all similarly situated people alike. See Engquist v Oregon Dept. of Agr., 553 US 591
(2008) (acknowledging that equal protection clause is generally concerned with State conduct
that results in disparate treatment for arguably indistinguishable classes of individuals); Harlen
Assocs. v. Inc. Vill. of Mineola, 273 F.3d 494, 499 (2d Cir.2001).
79. | Where government action draws a distinction between classes of people, the
“classification must be reasonable and must be based upon some ground of difference that

rationally explains the different treatment” People v. Liberta, 64 N.Y.2d 152, 163 (1984); see

also Gauthier v. Gabel, 44 Misc.2d 887, 891 (N.Y. Cty, 1964) (implicitly finding that equal

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protection is violated where a classification is wholly arbitrary, or is not founded on reasonable
distinctions or difference, or if any set of facts cannot reasonably be conceived that would sustain
it); Great Atl. & Pac. Tea Co. v. Town of E. Hampton, 997 F. Supp. 340, 350-51 (E.D.N.Y.
1998). Otherwise, the government action violates the equal protection clause.

80. Simply put, whether it is legislation, regulation, or mandate the equal protection clause
“requires that all persons . . .shall be treated alike, under like circumstances and conditions, both
in the privileges conferred and, in the liabilities, imposed.’” Engquist 553 US 591, 602 (2008)
(quoting Hayes v. Missouri, 120 U.S. 68, 71-72 (1887). “A classification must be reasonable,
not arbitrary, and with reference to distinctions that do not affect any fundamental right or affect
some suspect class of persons, must rest upon some ground of difference having a rational
relation to the object of the legislation, so that all persons similarly situated are treated alike.”
Sutphin Pharm., Inc. v Perales, 770 F Supp 168, 172 (S.D.N.Y. 1991).

81. | Defendant’s COVID Mandate implementation throws the equal protection clause into the
wind, and with it, the Mandate itself.

82. It cannot be disputed that employees were similarly situated to every other unvaccinated
person in the City. Put differently, COVID-19 was not isolated to the workplace or specific to
employees. In Nat'l Fed'n of Indep. Bus. v. Dep't of Lab., Occupational Safety & Health Admin.,
595 U.S. 109 (2022) (per curium) the Federal government mandated that all employees working
for employers with over 100 workers must be vaccinated. Unvaccinated employees who did not
comply with the rule would be “removed from the workplace.” Id. The Supreme Court stayed the
rule mandating vaccination. Importantly, the Court reasoned that “[a]lthough COVID- 19 isa
risk that occurs in many workplaces, it is not an occupational hazard in most. COVID-19 can

and does spread at home, in schools, during sporting events, and everywhere else that people

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gather. That kind of universal risk is no different from the day-to-day dangers that all face from
crime, air pollution, or any number of communicable diseases.” (Id. at 118). The risk of
contracting or spreading COVID-19 did not disappear when employees were off the clock.
Consequently, employees were similarly situated with every other unvaccinated person. See
Jacobson v. Massachusetts, 197 U.S. 11, (1905) (finding all people living in the city of
Cambridge to be similarly situated during an outbreak of smallpox).

83. Mandating only a certain population within the worker category get vaccinated was not
reasonably related to protecting the public health. Contra C.F., 191 A.D.3d (ordering people who
lived in one out of four zip codes where there was an outbreak of measles to get vaccinated);
Jacobson v. Massachusetts, 197 U.S. 11, 13 (1905) (upholding a law that required “all
inhabitants of Cambridge” to get vaccinated against smallpox where there was an outbreak of
smallpox in the city of Cambridge) (emphasis added). Therefore, the manner the Mandate was
implemented was not rationally related to furthering a public health goal since forcing a subset
of the population to get vaccinated does not prevent the “hundreds of thousands” of unvaccinated
members of the public from spreading COVID-19.

84. Additionally, there is no rational justification for classifying public employees differently
than private sector employees and treating public and private sector employees differently than
professional athletes and performers. These classifications are wholly arbitrary. Distinctions
based on employment status are irrelevant to combat a disease present everywhere. Cf. McMinn
v. Town of Oyster Bay, 66 N.Y.2d 544, 549 (1985) (holding that “restricting occupancy of
single-family housing based generally on the biological or legal relationships between its
inhabitants bears no reasonable relationship to the goal [] of reducing parking and traffic

problems . . .”). Indeed, a basketball player on the Brooklyn Nets for example, is more likely to

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spread COVID-19 than a DSNY employee. Basketball is a contact sport and is played inside a
stadium with thousands of fans all in close proximity to each other.

85. | Manifestly, achieving the goal of stopping the transmission of COVID-19 within the City
depends not on employment status, but on all the people living in the City because COVID-19
existed everywhere. Accordingly, the Mandate violated N.Y. Const art. I §XI.

Furthermore, the Defenant failed to demonstrate how their classification system was rationally
related to stopping the transmission of COVID-19,. The Defendant ignored that Mayor Adams
did not enforce the private sector Mandate and that it treated unvaccinated public employees
differently than every other unvaccinated person without a rational basis. Id. The Mandate
implementation strategies cannot survive rational basis review.

PLAINTIFFs DEMANDS A TRIAL BY JURY

WHEREFORE, Plaintiffs demand judgment against the Defendant for all compensatory,
emotional, and psychological damages, injunctive relief, and any other damages permitted by
law pursuant to the above referenced causes of action. It is respectfully requested that this Court
grant Plaintiffs any other relief to which they are entitled, including but not limited to:

1. Awarding Plaintiffs their tenured positions and salaries given to them before October

2021, in full, with benefits;

2. Awarding Plaintiffs all the backpay that ensued after they were placed on a Leave
Without Pay;
3. Granting such other and further relief that the Court seems just and proper.

Dated: March 2024

] Jean of "Kathleen Comack

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York
Sean Jean

53 Pevwintte Road
bevitrowe, New York, UDG
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Vv. . Civil Action No.
the De parm ent of Education

af The City of New York
G5 Court Street

Brooklyn , New York, {IZo]
“ Defendant(s) 7

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Date:

|

Signature of Clerk or Deputy Clerk
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

(1 1 personally served the summons on the individual at (piace)

On (date) ; or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

O) I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
© { returned the summons unexecuted because :or
C) Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
IS44 (Rev. 429@ ase 1:24-cv-02264-LDH-LBCDWéinGQ@ VERISHBE®/24 Page 29 of 96 PagelD #: 29
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

|. (a) PLAINTIFFS

Deown Jean
53 Periwinkle Road

Levittown , Mew York, [I 7Sl
(b) County of Residence of First Listed Plaintiff Nassau County

Kertaleen Comact
In Harbor Road

ster Bay, niw Yorke
oy aa

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NOTE:

Attorneys (/f Known)

of New YoK

County of Residence of First Listed Defendant

the Department of Education of The City
lo5 Court Street

Brooklya, Wew York, lleol

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

Il. BASIS OF JURISDICTION (Place an “x” in One Box Only)
CJ!

3 Federal Question

(U.S. Government Not a Party)

U.S. Government
Plaintiff

(2

Does this action include a motion for temporary restraining order or order
to show cause? Yes No TL)”

(_]4 Diversity
(Indicate Cinzenship of Parties in tem Hh)

U.S. Government
Defendant

Citizen of This State

Citizen of Another State

Citizen or Subject of a

(Far Diversity Cases Only)

PTF

A!

Foreign Country

O? 0?
C3 O03

DEF

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and One Box jor Defendant)

Incorporated or Principal Place

DEF

C4

PTF

LJ 4

of Business In This State

Incorporated and Principal Place

Ols (05

of Business In Another State

Foreign Nation

Lle (Ce

II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an“ in One Box for Plaintiff

IV. NATURE OF SUIT ¢ptace an “xX” in One Box Only)

| CONTRACT TORTS

FORFEITURE/PENALTY

BANKRUPTCY

OTHER STATUTES

110 Insurance PERSONAL INJURY PERSONAL INJURY

| 625 Drug Related Seizure

422 Appeal 28 USC 158

H

A

120 Marine 310 Airplane CT] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal
130 Miller Act 315 Airplane Product Product Liability | ]o90 Other 28 USC 157
140 Negotiable Instrument Liability CT] 367 Health Care/
[| 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_|
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |
- 152 Recovery of Defaulted Liability O 368 Asbestos Personal 835 Patent- Abbreviated |_|
Student Loans 340 Marine Injury Product i New Drug Application
(Excludes Veterans) -| 345 Marine Product Liability 840 Trademark
CO 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets |
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016
OC 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act
L_] 190 Other Contract Product Liability L] 380 Other Personal |] 720 Labor/Management ai SOCIAL SECURITY
| ]195 Contract Product Liability 360 Other Personal Property Damage Relations | | 861 HIA (1395ff)
|_| 196 Franchise Injury LC] 385 Property Damage 740 Ratlway Labor Act |_| 862 Black Lung (923)
362 Personal Injury - Product Liability Hr Family and Medical 863 DIWC/DIWW (405(g))

Medical Malpractice

Leave Act

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS

790 Other Labor Litigation

210 Land Condemnation 440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

Habeas Corpus:

463 Alien Detainee
510 Motions to Vacate
Sentence
|_| 530 General

220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability

TT II

| _|791 Employee Retirement

Income Security Act

864 SSID Title XVI
865 RSI (403(z))

Lit} LL

FEDERAL TAX SUITS

[_] 870 Taxes (U.S. Plaintiff
or Defendant)
[| 871 IRS—Third Party

1 290 All Other Real Property Y] 445 Amer. w/Disabilities - | 535 Death Penalty

IMMIGRATION

26 USC 7609

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

Employment

| 446 Amer. w/Disabilities -
Other

| 448 Education

462 Naturalization Application
465 Other Immigration
Actions

CP 4

375 False Claims Act

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

|_| 470 Racketeer Influenced and

Corrupt Organizations
480 Consumer Credit
(15 USC 1681 or 1692)
485 Telephone Consumer
Protection Act
490 Cable/Sat TV
850 Securities/Commodities/
Exchange
890 Other Statutory Actions
891 Agncultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
950 Constitutionality of
State Statutes

V. ORIGIN (Place an

“X" in One Box Only)

1 Original 2 Removed from 3. Remanded from oi4 Reinstated or [] 5 Transferred from OC 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation -
(specify) Transfer

Oo 8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Hon Act

42US¢ Sec 1994 ond I9S1 .
Brief description of cause: :
Discrimin

VI. CAUSE OF ACTION

Tit\evET 504 Rehabitta
action And Retrliation based upon reliaious behet ond Medical

VII. REQUESTED IN (] CHECK IF THIS IS A CLASS ACTION

DEMAND 52,000, 000.00

COMPLAINT: UNDER RULE 23, F.R-Cv.P. JURY DEMAND: yes [No
VIII. RELATED CASE(S)
IF ANY (See instructions):

JUDGE

DOCKET NUMBER

DATE

SIGNATURE OF ATTORNEY OF RECORD

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP

JUDGE

MAG. JUDGE

CHECK YES only if demanded in complaint: Condi tine
CERTIFICATION OF ARBITRATION ELIGIBILITY

Local Arbitration Rule 83.7 provides that with certain cxecptions., actions secking moncy damages only in an amount not in cxcess of $150,000,
exclusive of interest and costs, ure eligible for compulsory arbitration, The amount of damages is presumed to be below the threshold amount unless 4
certification to the contrary is filed.

Case is Eligible for Arbitration [|

, counsel for. do hereby certify that the above captioned civil action is incligible for

compulsory arbitration for the following reason(s):

monetary damages sought are in excess of $150,000, exclusive of interest and costs,
the complaint seeks injunctive relief,
the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section Villon the Front of this Form)

Please Est all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIil on the front of this form. Rule 50.3.1 (a) provides that “A civi case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantia) saving of judicial resources is likely lo result from assigning both cases lo tha same judge and magistrale judge.” Rule 50.3.1 (b) provides thal ” A civd case shal} not be
deemed “related” lo another civil case mesely because the civil case: (A) involves identical legal issues, or (B) involves the sama parties.” Rule 50.3.1 (c) furlher provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shal] not be deemed to be “related” unless both cases are still
pending befora the court.”

1.)

2)

NY-E DIVISION OF BUSINESS RULE 1(c)

Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County? Cl] Yes [J No

If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk

County? Cj Yes [Jj No

b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? Cl Yes No

C) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
received:

if your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in A interpleader en dogs the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
oO

Suffolk County?

es
(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION

1am currently admitted in the Eastem District of New York and currently a member in good standing of the bar of this court.

oO Yes Oo No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

oO Yes (If yes, please explain OO no

| certify the accuracy of all information provided above.

Signature:

Lust Modifisd: 11/27/2017
Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 31 of 96 PagelD #: 31

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4 page S$
Case 1:21-cv-06387-KAM-LB Document 47-7 Filed 01/10/22 Page 1 of 4 PagelD #: 1694

ORDER OF THE COMMISSIONER
OF HEALTH AND MENTAL HYGIENE
TO REQUIRE COVID-19 VACCINATION FOR
DEPARTMENT OF EDUCATION
EMPLOYEES, CONTRACTORS, VISITORS, AND OTHERS

WHEREAS, on March 12, 2020, Mayor Bill de Blasio issued Emergency Executive Order
No. 98 declaring a state of emergency in the City to address the threat posed by COVID-19 to the
health and welfare of City residents, and such order remains in effect; and

WHEREAS, on March 25, 2020, the New York City Commissioner of Health and Mental
Hygiene declared the existence of a public health emergency within the City to address the
continuing threat posed by COVID-19 to the health and welfare of City residents, and such
declaration and public health emergency continue to be in effect; and

WHEREAS, pursuant to Section 558 of the New York City Charter (the “Charter”), the
Board of Health may embrace in the Health Code all matters and subjects to which the power and
authority of the Department of Health and Mental Hygiene (the “Department”) extends; and

WHEREAS, pursuant to Section 556 of the Charter and Section 3.01(c) of the Health
Code, the Department is authorized to supervise the control of communicable diseases and
conditions hazardous to life and health and take such actions as may be necessary to assure the
maintenance of the protection of public health; and

WHEREAS, the U.S. Centers for Disease Control and Prevention (“CDC”) reports that
new variants of COVID-19, identified as “variants of concern” have emerged in the United States,
and some of these new variants which currently account for the majority of COVID-19 cases
sequenced in New York City, are more transmissible than earlier variants; and

WHEREAS, the CDC has stated that vaccination is an effective tool to prevent the spread
of COVID-19 and benefits both vaccine recipients and those they come into contact with, including
persons who for reasons of age, health, or other conditions cannot themselves be vaccinated; and

WHEREAS, the CDC has recommended that school teachers and staff be “vaccinated as
soon as possible” because vaccination is “the most critical strategy to help schools safely resume
full operations [and] is the leading public health prevention strategy to end the COVID-19
pandemic;” and

WHEREAS, on September 9, 2021, President Joseph Biden announced that staff who
work in Head Start programs and in schools run by the Bureau of Indian Affairs and Department
of Defense will be required to be vaccinated in order to implement the CDC’s recommendations;
and

WHEREAS, on August 26, 2021, New York State Department of Health adopted
emergency regulations requiring staff of inpatient hospitals and nursing homes to receive the first
dose of a vaccine by September 27, 2021, and staff of diagnostic and treatment centers, hospices,
home care and adult care facilities to receive the first dose of a vaccine by October 7, 2021; and

WHEREAS, Section 17-104 of the Administrative Code of the City of New York directs
the Department to adopt prompt and effective measures to prevent the communication of infectious
diseases such as COVID-19, and in accordance with Section 17-109(b), the Department may adopt
Case 1:21-cv-06387-KAM-LB Document 47-7 Filed 01/10/22 Page 2 of 4 PagelD #: 1695

vaccination measures to effectively prevent the spread of communicable diseases; and

WHEREAS, the City is committed to safe, in-person learning in all pre-school to grade
12 schools, following public health science; and

WHEREAS the New York City Department of Education (“DOE”) serves approximately
1 million students across the City, including students in the communities that have been
disproportionately affected by the COVID-19 pandemic and students who are too young to be
eligible to be vaccinated; and

WHEREAS, a system of vaccination for individuals working in school settings, including
DOE buildings and charter school buildings, will potentially save lives, protect public health, and
promote public safety; and

WHEREAS, pursuant to Section 3.01(d) of the Health Code, I am authorized to issue
orders and take actions that I deem necessary for the health and safety of the City and its residents
when urgent public health action is necessary to protect the public health against an existing threat
and a public health emergency has been declared pursuant to such section; and

WHEREAS, on August 24, 2021, I issued an order requiring COVID-19 vaccination for
DOE employees, contractors, and others who work in-person in a DOE school setting or DOE
building, which was amended on September 12, 2021; and

WHEREAS, unvaccinated visitors to public school settings could spread COVID-19 to
students and such individuals are often present in public school settings and DOE buildings;

NOW THEREFORE I, Dave A. Chokshi, MD, MSc, Commissioner of Health and Mental
Hygiene, finding that a public health emergency within New York City continues, and that it is
necessary for the health and safety of the City and its residents, do hereby exercise the power of
the Board of Health to prevent, mitigate, control and abate the current emergency, to

RESCIND and RESTATE my September 12, 2021 Order relating to COVID-19
vaccination for DOE employees, contractors, visitors, and others; and

Thereby order that:

1. No later than September 27, 2021, or prior to beginning employment, the following individuals
must provide proof of vaccination as described below:
a. DOE staff must provide proof of vaccination to the DOE.

b. City employees who work in-person in a DOE school setting, DOE building, or charter
school setting must provide proof of vaccination to their employer.

c. Staff of contractors of DOE or the City, as defined below, must provide proof of
vaccination to their employer, or if self-employed, to the DOE.

d. Staff of any charter school serving students up to grade 12, and staff of contractors
hired by charter schools co-located in a DOE school setting to work in person in a DOE
school setting or DOE building, must provide proof of vaccination to their employer,
or if self-employed, to the contracting charter school.

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2. Anemployer to whom staff must submit proof of vaccination status, must securely maintain a
record of such submission, either electronically or on paper, and must demonstrate proof of
compliance with this Order, including making such records immediately available to the
Department upon request.

3. Beginning September 13, 2021, all visitors to a DOE school building must show prior to
entering the building that they have:
a. Been fully vaccinated; or
b. Received a single dose vaccine, or the second dose of a two-dose vaccine, even if two
weeks have not passed since they received the dose; or
c. Received the first dose of a two-dose vaccine.

4. Public meetings and hearings held in a DOE school building must offer individuals the
opportunity to participate remotely in accordance with Part E of Chapter 417 of the Laws of
2021.

5. For the purposes of this Order:

“Charter school setting” means a building or portion of building where a charter school
provides instruction to students in pre-kindergarten through grade 12 that is not collocated in
a DOE building.

“DOE school setting” includes any indoor location where instruction is provided to DOE
students in public school pre-kindergarten through grade 12, including but not limited to
locations in DOE buildings, and including residences of students receiving home instruction
and places where care for children is provided through DOE’s LYFE program. DOE school
settings include buildings where DOE and charter schools are co-located.

“DOE staff’ means (i) full or part-time employees of the DOE, and (ii) DOE interns (including
student teachers) and volunteers.

“Fully vaccinated” means at least two weeks have passed after an individual received a single
dose of a COVID-19 vaccine that only requires one dose, or the second dose of a two-dose
series of a COVID-19 vaccine approved or authorized for use by the Food and Drug
Administration or World Health Organization.

“Proof of vaccination” means proof that an individual:
a. Has been fully vaccinated;
b. Has received a single dose vaccine, or the second dose of a two-dose vaccine, even if
two weeks have not passed since they received the dose; or
c. Has received the first dose of a two-dose vaccine, in which case they must additionally
provide proof that they have received the second dose of that vaccine within 45 days
after receipt of the first dose.

“Staff of contractors of DOE or the City” means a full or part-time employee, intern or
volunteer of a contractor of DOE or another City agency who works in-person in a DOE school

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setting, a DOE building, or a charter school, and includes individuals working as independent
contractors.

“Visitor” means an individual, not otherwise covered by Paragraph 1 of this Order, who will
be present in a DOE school building, except that “visitor” does not include:

a. Students attending school or school-related activities in a DOE school setting;

b. Parents or guardians of students who are conducting student registration or for other
purposes identified by DOE as essential to student education and unable to be
completed remotely;

c. Individuals entering a DOE school building for the limited purpose to deliver or pick
up items;

d. Individuals present in a DOE school building to make repairs at times when students
are not present in the building;

e. Individuals responding to an emergency, including police, fire, emergency medical
services personnel, and others who need to enter the building to respond to or pick up
a student experiencing an emergency;

f. Individuals entering for the purpose of COVID-19 vaccination;

g. Individuals who are not eligible to receive a COVID-19 vaccine because of their age;
or

h. Individuals entering for the purposes of voting or, pursuant to law, assisting or
accompanying a voter or observing the election.

“Works in-person” means an individual spends any portion of their work time physically
present in a DOE school setting, DOE building, or charter school setting. It does not include
individuals who enter such locations for the limited purpose to deliver or pick up items unless
the individual is otherwise subject to this Order. It also does not include individuals present
such locations to make repairs at times when students are not present in the building unless the
individual is otherwise subject to this Order.

6. Nothing in this Order shall be construed to prohibit any reasonable accommodations otherwise
required by law.

7. This Order shall be effective immediately and remain in effect until rescinded, subject to the

authority of the Board of Health to continue, rescind, alter or modify this Order pursuant to
Section 3.01(d) of the Health Code.

Dave A. Chokshi, M.D., MSc
Commissioner

Dated: September 15, 2021

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NYSCEF DOC. NO. 7 RECEIVED NYSCEF:

EXHIBIT
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THe City ofr New YorK
OFFICE OF THE MAYOR
New YorRK. N.Y. 190007

EMERGENCY EXECUTIVE ORDER NO. 62
March 24, 2022

WHEREAS. the COVID-19 pandemic has severely impacted New York City and its
economy, and is addressed effectively only by joint action of the City. State. and Federal
governments: and

WHEREAS. the state of emergency to address the threat and impacts of COVID-19 in
the City of New York first declared in Emergency Executive Order No. 98, issued on March 12,
2020, and extended most recently by Emergency Executive Order No. 46, issued on February 28.
2022, remains in effect: and

WHEREAS. this Order is given because of the propensity of the virus to spread person-
to-person, and also because the actions taken to prevent such spread have led to property loss and
damage; and

WHEREAS. athletes and performing artists frequently conduct their work at venues both
inside and outside of the Citv, without regard to their residence in the City. and their work
benefits the City’s economic recovery from the pandemic, often attracting large numbers of
visitors to the City: and

WHEREAS, New York City athletic teams have been, and continue to be, ata
competitive disadvantage because visiting teams can field unvaccinated players, and this
competitive disadvantage has negatively impacted, and continues to negatively impact. New
York City teams’ success. which is important to the City’s economic recovery and the morale of
City residents and visitors: and

WHEREAS, additional reasons for requiring the measures continued in this Order are set
forth in my prior Emergency Executive Order No. 50, issued on March 4, 2022:

NOW. THEREFORE. pursuant to the powers vested in me by the laws of the State of
New York and the City of New York, including but not limited to the New York Executive Law,
the New York City Charter and the Administrative Code of the City of New York, and the
common law authority to protect the public in the event of an emergency:

Section |. { hereby direct that section 1 of Emergency Executive Order No. 59. dated
March 19. 2022. is extended for five (5) days.

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NYSCEF DOC. NO.

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RECEIVED NYSCEF:

§ 2. [hereby order that section 3 of Emergency Executive Order No. 50, dated March 4,

2022, is amended to read as follows.

§ 3. Lhereby direct that:

a. Covered entities that had becn covered by the Key to NYC program shall continue to

require that a covered worker provide proof of vaccination, unless such worker has received a
reasonable accommodation. Covered entities shall continue to keep a written record of their
protocol for checking covered workers’ proof of vaccination and to maintain records of such
workers’ proof of vaccination, as described in subdivisions d and e of section 2 of Emergency
Executive Order No. 317, dated December 15, 2021.

b. Records created or maintained pursuant to subdivision a of this section shall be treated

as confidential.

c. A covered entity shall, upon request by a City agency, make available for inspection

the records required to be maintained by this section, consistent with applicable law.

d. For the purposes of this Section:

(1) “Covered entity” means any entity that operates one or more “covered premises,”
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except that “covered entity” does not include pre-kindergarten through grade twelve (12) public
and non-public schools and programs, houses of worship, childcare programs, senior centers,
community centers.

(2) “Covered premises” means any of the following locations, except as provided in

subparagraph (iv) of this paragraph:

(i) Indoor Entertainment and Recreational Settings, and Certain Event and
Meeting Spaces, including indoor portions of the following locations, regardless
of the activity at such locations: movie theaters, music or concert venues, adult
entertainment, casinos, botanical gardens. commercial event and party venues,
museums, aquariums, zoos, professional sports arenas and indoor stadiums,
convention centers and exhibition halls. hotel meeting and event spaces,
performing arts theaters, bowling alleys. arcades. indoor play areas. pool and
billiard halls, and other recreational game centers:

(ii) Indoor Food Services, including indoor portions of food service
establishments offering food and drink, including all indoor dining areas of food
service establishments that receive letter grades as described in section 81.51 of
the Health Code; businesses operating indoor seating areas of food courts:
catering food service establishments that provide food indoors on its premises:
and any indoor portions of an establishment that is regulated by the New York
State Department of Agriculture and Markets offering food for on-premises
indoor consumption; and

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(iii) Indoor Gyms and Fitness Settings. including indoor portions of standalone
and hotel gyms and fitness centers, gyms and fitness centers in higher education
institutions, voga/Pilates/barre/dance studios, boxing/kickboxing gyms, fitness
boot camps. indoor pools, CrossFit or other plyometric boxes. and other facilities
used for conducting group fitness classes.

(iv) “Covered premises” does not include houses of worship or locations in a
residential or office building the use of which is limited to residents, owners, or
tenants of that building.

(3) “Covered worker” means an individual who works in-person in the presence of another
worker or a member of the public at a workplace in New York City. “Covered worker” includes a
full- or part-time staff member. employer, employee, intern, volunteer. or contractor of a covered
entity. as well as a self-employed individual or a sole practitioner.

“Covered worker” does not include:

(i) an individual who works from their own home and whose employment does not
involve interacting in-person with co-workers or members of the public:

(ii) an individual who enters the workplace for a quick and limited purpose:

(iii) a performing artist, or an individual accompanying such performing artist, while
the performing artist is in a covered premises for the purpose of such artist's
performance: or

(iv) a professional athlete, or an individual accompanying such professional athlete or
such athlete’s sports team, who enters a covered premises as part of their regular
employment.

(4) “Proof of vaccination” means proof of receipt of a full regimen of a COVID-19 vaccine
authorized for emergency use or licensed for use by the U.S. Food and Drug Administration or
authorized for emergency use by the World Health Organization. not including any additional
recommended booster doses. Such proof may be established by:

(i) A CDC COVID-19 Vaccination Record Card or an official immunization record
from the jurisdiction, state, or country where the vaccine was administered. or a
digital or physical photo of such a card or record. reflecting the person’s name.
vaccine brand, and date administered: or

(ii) A New York City COVID Safe App (available to download on Apple and
Android smartphone devices); or

(iii) A New York State Excelsior Pass; or

(iv) CLEAR’s digital vaccine card: or

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(¥) Any other method specified by the Commissioner of Health and Mental Hygiene
as sufficient to demonstrate proof of vaccination.

(5) [hereby order that section 20-1271 of the Administrative Code of the City of New York
is modified by adding the following provision to the definition of “just cause:” Notwithstanding
any provision of this chapter, a fast food employer shall be deemed to have just cause when a fast
food employee has failed to provide proof of vaccination required by an emergency executive
order issued in response to the COVID-19 pandemic and shall not be required to follow progressive
discipline procedures prior to terminating the employee, provided that the employee shall have 30
days from the date when the employer notified the employee of the requirement to submit such
proof and the employee shall be placed on leave following such notification until such proof is
provided. This provision shall not excuse the employer from the responsibility to provide a
reasonable accommodation where required by law.

e. An individual who meets the requirements of subparagraph (iii) or (iv) of section 3(d)(3)
of this Order shall be exempt from the Order of the Commissioner of Health dated December 13,
2021, relating to requiring COVID-19 vaccination in the workplace.

§ 3. [ hereby direct the Fire and Police Departments, the Department of Buildings, the
Sheriff, and other agencies as needed, to enforce the directives set forth in this Order in accordance
with their lawful authorities. including Administrative Code sections 15-227(a), 28-105.10.1. and
28-201.1. and section 107.6 of the Fire Code. Violations of the directives set forth in this Order
may be issued as if they were violations under Health Code sections 3.07 and 3.11, and enforced
by the Department of Health and Mental Hygiene or any other agency.

§ 4. This Emergency Executive Order shall take effect immediately and shall remain in
effect for five (5) days unless it is terminated or modified at an earlier date.

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In the Matter of the Arbitration
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between
Xx
BOARD OF EDUCATION OF THE CITY Re: Impact Bargaining
SCHOOL DISTRICT OF THE CITY OF x
NEW YORK
xX
“Department”
Xx
~and-
xX
UNITED FEDERATION OF TEACHERS,
LOCAL 2, AFT, AFL-CIO Xx
“Union” X
ae a wr ee ee eee xX

APPEARANCES

For the Department
Renee Campion, Commissioner of Labor Relations
Steven H. Banks, Esq., First Deputy Commissioner
and General Counsel of Labor Relations

For the Union
STROOCK & STROOCK & LAVAN, .L.P.
Alan M. Klinger, Esq.

Beth Norton, Esq., UFT General Counsel
Michael Mulgrew, UFT President

BEFORE: Martin F. Scheinman, Esq., Arbitrator
BACKGROUND

The Union (“Union” or “UFT”) protests the Department of
Education’s (“Department” or “DOE”) failure to reach agreement on
the impact of its decision mandating ail employees working in
Department buildings show proof they started the Covid-19
vaccination protocols by September 27, 2021. The Union contends the
Department failed to adequately provide, among other things, for
those instances where employees have proof of a serious medical
condition making the vaccine a danger to their health, as well as
for employees who have a legitimate religious objection to vaccines.

Most of the basic facts are not in dispute.

For those in the New York City (“NYC” or “City”) metropolitan
area, we are now in the 18% month of the Covid-19 pandemic. During
that time, we have seen substantial illness and loss of life. There
have been periods of significant improvement and hope, but sadly, we
have seen resurgence with the Delta variant. Throughout this period,
NYC and its municipal unions have worked collaboratively to provide
needed services for the City’s 8.8 million residents in as safe an
environment as possible. Yet, municipal employees have often borne
great risk. The Department and the UFT are no exception. The DOE
and the UFT immediately moved to remote instruction and then later
a hybrid model of both in-person and remote learning for the 2020-
2021 school year. Educators at all levels strove to deliver the

best experience possible under strained circumstances. For this
coming school year, both the DOE and the UFT have endeavored to
return, as much as possible, to in-person learning. They have
developed protocols regarding masking and distancing to effectuate
a safe environment for the City’s students and educators.

To this end, the Delta resurgence has complicated matters. In
recognition of increased risk, there have been various policies
implemented at City agencies and other municival entities. Mayor de
Blasio in July 2021 announced a “Vaccine-or-Test” mandate which
essentially requires the City workforce, including the UFT’s
educators, either to be vaccinated or undergo weekly testing for the
Covid-19 virus effective September 13, 2021.

Most relevant to this matter, on August 23, 2021, the Mayor and
the NYC Commissioner of Health and Mental Hygiene, David A. Chokshi,
MD, announced a new policy for those workforces in NYC DOE buildings.
Those employees would be subject to a “Vaccine Only” mandate. That
is, such employees would need to show by September 27, 2021, they
had at least started the vaccination protocol or would not be allowed
onto DOE premises, would not be paid for work and would be at risk
of loss of job and benefits. This mandate was reflected in an Order
of Commissioner Chokshi, dated August 24, 2021. That Order, by its
terms, did not expressly provide for exceptions or accommodations
for those with medical contraindications to vaccination or
sincerely-held religious objections to inoculation. Nor did it

address matters of due process with regard to job and benefits

protection.
The UFT promptly sought to bargain the impact and implementation
of the Vaccine Only mandate. A number of discussions were had by
the parties but important matters remained unresolved.

On September 1, 2021, the UFT filed a Declaration of Impasse
with the Public Employment Relations Board (“PERB”} as to material
matters. The City/DOE did not challenge the statement of impasse
and PERB appointed me to mediate the matters. Given the exigencies
of the imminent start of the school year and the coming of the
September 27, 2021, mandate, together with the importance of the
issues involved to the workforce, mediations sessions were held
immediately on September 2, 3, 4 and 5, 2021, with some days having
multiple sessions. Progress was made, and certain tentative
understandings were reached, but significant matters remained
unresolved. By agreement of the parties, the process moved to
arbitration. They asked I serve as arbitrator.}

Arbitration sessions were held on September 6 and 7, 2021.
During the course of the hearings, both sides were given full
opportunity to introduce evidence and argument in support of their
respective positions. They did so. Both parties made strenuous and
impassioned arguments reflecting their viewpoints on this entire
issue.

During the course of these hearings, I made various interim

rulings concerning the impact of the “Vaccine Only” mandate. I then

1 My jurisdiction is iimited to the issues raised during impact
bargaining and not with regard to the decision to issue the
underlying “Vaccine Only” order.

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directed the parties to draft language reflecting those rulings.
Even though I am very familiar with the language of the current
Collective Bargaining Agreement, as well as the parties’
relationship since I am a member of their permanent arbitration panel
and have served as a fact-finder and mediator during several rounds
of bargaining, I concluded the parties are more familiar with
Department policy and how leave and entitlements have been
administered in accordance with prior agreements. As such, my
rulings reflect both the understandings reached during the
negotiations prior to mediation, those reached in the mediation
process and the parties’ agreed upon language in response to my
rulings. All are included, herein.

I commend the parties for their seriousness of purpose and
diligence in addressing these complicated matters. The UFT made
clear it supports vaccination efforts and has encouraged its members
to be vaccinated. Nonetheless, as a Union, it owes a duty to its
members to ensure their rights are protected. The City/DOE
demonstrated recognition of the importance of these issues,
particularly with regard to employees’ legitimate medical or
religious claims. I appreciate both parties’ efforts in meeting the
tight timeline we have faced and the professionalism they
demonst razed serving the citizens of the City and what the million
plus students deserved. They have invested immense effort to insure

such a serious issue was litigated in such a thoughtful way.
Yet, in the end, it falls to me, as Arbitrator, to arrive at a
fair resolution of the matters at hand.

This matter is one of the most urgent events I have been
involved with in my forty (40) plus years as a neutral. The parties
recognized the complexity of the issues before me, as well as the
magnitude of the work that lies ahead to bring this conflict to
completion in a timely manner. For this reason, they understood and
accepted the scope and complexity of this dispute could not be
handled by me alone. They agreed my colleagues at Scheinman
Arbitration and Mediation Services (“SAMS”) would also be involved.

I want to thank my colleagues at SAMS, especially Barry J.
Peek, for their efforts and commitment to implementing the
processes to resolve this matter. This undertaking could not be

accomplished by any single arbitrator.

Opinion

After having carefully considered the record evidence, and
after having the parties respond to countless inquiries. I have
requested to permit me to make a final determination, I make the
rulings set forth below. While some of the language has been
drafted, initially, by the parties in response to my rulings, in the
end the language set forth, herein, is mine alone. I hereby issue
the following Award:

z. Exemption and Accommodation Requests & Appeal Process

As an alternative to any statutory reasonable accommodation
process, the City, the Board of Education of the City School District
for the City of New York (the “DOE”), and the United Federation of
Teachers, Local 2, AFT, AFL-CIO (the “UFT), (collectively the
“Parties”) shall be subject to the following Expedited Review Process
to be imolemented immediately for full-time staff, H Bank and non-
pedagogical employees who work a regular schedule of twenty (20)
hours per week or more inclusive of lunch, including but not limited
to Occupational Therapists and Physical Therapists, and Adult
Education teachers who work a regular schedule of twenty (20) or
more hours per week. This process shall only apply to (a) religious
and medical exemption requests to the mandatory vaccination policy,
and (b}) medical accommodation requests where an employee is unable
to mount an immune response to COVID-19 due to preexisting immune
conditions and the requested accommodation is that the employee not
appear at school. This process shall be in place for the 2021-2022
school year and shall only be extended by mutual agreement of the
Parties.

Any requests to be considered as part of this process must be
submitted via the SOLAS system no later than Monday, September 20,
2021, by 5:00 p.m.

A. Full Medical Exemptions to the vaccine mandate shall only be
considered where an employee has a documented
contraindication such that an employee cannot receive any of
the three (3) authorized vaccines (Pfizer, Moderna, J&J)-—

with contraindications delineated in CDC clinical
considerations for COVID-19 vaccination. Note that a prior

immediate allergic reaction to one (1) type of vaccine will

be a precaution for the other types of vaccines, and may
require consultation with an allergist.

- Temporary Medicai Exemptions to the vaccine mandate shall

only be based on the following valid reasons to defer or

delay COVID-19 vaccination for some period:

o Within the isolation period after a COVID-19 infection;

o Within ninety (90) days of monoclonal antibody treatment
of COVID-19;

o Treatments for conditions as delineated in CDC clinical
considerations, with understanding CDC guidance can be
updated to include new considerations over time, and/or
determined by a treating physician with a valid medical
license responsible for the immunosuppressive therapy,
including full and appropriate documentation that may
warrant temporary medical exemption for some period of
time because of active therapy or treatment (e.g., stem
cell transplant, CAR T-cell therapy) that would
temporarily interfere with the patient’s ability to
respond adequately to vaccination;

o Pericarditis or myocarditis not associated with COVID-19
vaccination or pericarditis or myocarditis associated with

COVID-19 vaccination.
Length of delay for these conditions may vary, and the employee

must get vaccinated after that period unless satisfying the criteria

for a Full Medical Exemption described, above.

Cc.

Religious exemptions for an employee to not adhere to the
Mandatory vaccination policy must be documented in writing
by a religious official (e.g., clergy). Requests shall be
denied where the leader of the religious organization has
spoken publicly in favor of the vaccine, where the
documentation is readily available (e.g., from an online
source), or where the objection is personal, political, or
philosophical in nature. Exemption requests shall be
considered for recognized and established religious
organizations (e.g., Christian Scientists).

There are cases in which, despite an individual having sought
and received the full course of the vaccination, he or she
is unable to mount an immune response to COVID-19 due to
preexisting immune conditions. In these circumstances, each
individual case shall be reviewed for potential
accommodation. Medical accommodation requests must be

documented in writing by a medical doctor.

. The initial determination of eligibility for an exemption or

accommodation shall be made by staff in the Division of Human
Capital in the Office of Medical, Leaves and Benefits; the

Office of Equal Opportunity; and Office of Employee
Relations. These determinations shall be made in writing no
later than Thursday, September 23, 2021, and, if denied,
shall include a reason for the denial.

F. If the employee wishes to appeal a determination under the
identified criteria, such appeal shall be made in SOLAS to
the DOE within one (1) school day of the DOE’s issuance of
the initial eligibility determination. The request for
appeal shall include the reason for the appeal and any
additional documentation. Following the filing of the appeal,
any supplemental documentation may be submitted by the
employee to the Scheinman Arbitration and Mediation Services
(“SAMS”) within forty eight (48) hours after the filing of
the appeal. If the stated reason for denial of a medical
exemption or accommodation request is insufficient
documentation, the employee may request from the arbitrator
and, upon good cause shown, the arbitrator may grant an
extension beyond forty eight (48) hours and permit the use
of CAR days after September 27, 2021, for the employee to
gather the appropriate medical documentation before the
appeal is deemed submitted for determination.

G. A panel of arbitrators identified by SAMS shall hear these
appeals, and may request the employee or the DOE submit
additional documentation. The assigned arbitrator may also
request information from City and/or DOE Doctors as part of

the review of the appeal documentation. The assigned

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arbitrator, at his or her discretion, shall either issue a
decision on the appeal based on the documents submitted or
hold an expedited {virtual} factual hearing. If the
arbitrator requests a factual hearing, the employee may elect
to have a union representative present but neither party
shall be required to be represented by an attorney at the
hearing. The expedited hearing shall be held via Zoom
telecommunication and shall consist of brief opening
statements, questions from the arbitrator, and brief closing
statements. Cross examination shall not be permitted. Any
documentation submitted at the arbitrator’s request shall be
provided to the DOE at least one (1) business day before the
hearing or the issuance of the written decision without
hearing.

Appeal decisions shall be issued to the employee and the DOE
no later than Saturday September 25, 2021. Appeal decisions
shall be expedited without full Opinion, and final and

binding.

. While an appeal is pending, the exemption shall be assumed

granted and the individual shall remain on payroll consistent
with Section K below. However, if a larger number of
employees than anticipated have a pending appeal as of
September 27, 2021, as determined by SAMS, SAMS may award
different interim relief consistent with the parties’ intent.

Those employees who are vaccinated and have applied for an

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accommodation shall have the ability to use CAR days while
their application and appeal are pending. Should the appeal
be granted, these employees shall be reimbursed any CAR days
used retroactive to the date of their initial application.

The DOE shall cover all arbitration costs from SAMS under
this process. To the extent the arbitrator requests
additional medical documentation or information from the DOE,
or consultation with City and/or DOE Doctors, arranging and
paying for such documentation and/or consultation shall be

the responsibility of the DOE.

. An employee who is granted a medical or religious exemption

or a medical accommodation under this process and within the
specific criteria identified above shall be permitted the
opportunity to yremain on payroll, but in no event
required/permitted to enter a school building while
unvaccinated, as long as the vaccine mandate is in effect.
Such employees may be assigned to work outside of a school
building (e.g., at DOE administrative offices) to perform
academic or administrative functions as determined by the
DOE while the exemption and/or accommodation is in place.
For those with underlying medical issues ogranted an
accommodation under Section I(D), the DOE will make best
efforts to ensure the alternate work setting is appropriate
for the employee’s medical needs. The DOE shall make best

efforts to make these assignments within the same borough as

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the employee’s current school, to the extent a sufficient
number of assignments exist in the borough. Employees so
assigned shall be required to submit to COVID testing twice
per week for the duration of the assignment.

L. The process set forth, herein, shall constitute the exclusive
and complete administrative process for the review and
determination of requests for religious and medical
exemptions to the mandatory vaccination policy and
accommodation requests where the requested accommodation is
the employee not apvear at school. The process shall be
deemed complete and final upon the issuance of an appeal
decision. Should either party have reason to believe the
process set forth, herein, is not being implemented in good
faith, it may bring a claim directly to SAMS for expedited
resolution.

Leave

. Any unvaccinated employee who has not requested an exemption

pursuant to Section 1, or who has requested an exemption which
has been denied, may be placed by the DOE on leave without pay
effective September 28, 2021, or upon denial of appeal,
whichever is later, through November 30, 2021. Such leave may
be unilaterally imposed by the DOE and may be extended at the
request of the employee consistent with Section III(B), below.
Placement on leave without pay for these reasons shall not be

considered a disciplinary acticn for any purpose.

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B. Except as otherwise noted, herein, this leave shall be treated
consistent with other unpaid leaves at the DOE for all purposes.

Cc. During such leave without pay, employees shall continue to be
eligible for health insurance. As with other DOE leaves without
pay, employees are prohibited from engaging in gainful
employment during the leave period.

D. Employees who become vaccinated while on such leave without pay
and provide appropriate documentation to the DOE prior to
November 30, 2021, shall have a right of return to the same
school as soon as is practicable but in no case more than one
{1) week following notice and submission of documentation to
the DOE.

—. Pregnancy/Parental Leave

i. Any soon-to-be birth mother who starts the third trimester
of pregnancy on or before September 27, 2021, (e.g. has a
due date no later than December 27, 2021), may commence
UFT Parental Leave prior to the child’s birth date, but
not before September 27, 2021.

ii. No documentation shall be necessary for the early use of
Parental Leave, other than a doctor’s written assertion
the employee is in her third trimester as of September 27,

2021.
iii. Eligible employees who choose to start Parental Leave
prior to the child’s birth date, shall be required to first

use CAR days until either: 1) they exhaust CAR/sick days,

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at which point the Parental Leave shall begin, or 2) they
give birth, at which point they shall be treated as an
approved Parental Leave applicant for all purposes,
including their prerogative to use additional CAR days
prior to the commencement of Parental Leave.

Eligible employees who have a pregnancy disability or
maternity disability outside of the regular maternity
period may, in accordance with existing rules, borrow
CAR/sick days and use a Grace Period. This eligibility to
borrow CAR/sick days does not apply to employees during
the regular maternity recovery period if they have opted
to use Parental Leave.

In the event an eligible employee exhausts CAR/sick days
and parental leave prior to giving birth, the employee
shall be placed on a leave without pay, but with medical
benefits at least until the birth of the child. As
applicable, unvaccinated employees may be placed in the
leave as delineated in Section II(A).

If not otherwise covered by existing Family Medical Leave
Act (“FMLA”) or leave eligibility, an employee who takes
Parental Leave before the birth of the child shall be
eligible to be on an unpaid leave with medical benefits
for the duration of the maternity recovery period (i.e.,
Six weeks after birth or eight weeks after a birth via C-

Section)

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vii. All other eligibility and use rules regarding UFT Parental

Leave as well as FMLA remain in place.

Separation

During the period of September, 28, 2021, through October 29,
2021, any employee who is on leave without pay due to
vaccination status may opt to separate from the DOE. In order
to separate under this Section and receive the commensurate
benefits, an emoloyee must file a form created by the DOE which
includes a waiver of the employee’s rights to challenge the
employee’s involuntary resignation, including, but not limited
to, through a contractual or statutory disciplinary process. If
an employee opts to separate consistent with this Section, the
employee shall be eligible to be reimbursed for unused CAR days
on a one (1) for one (1) basis at the rate of 1/200th of the
employee’s salary at departure per day, up to 100 days, to be
paid following the employee’s separation with documentation
including the general waiver and release. Employees who elect
this option shall be deemed to have resigned involuntarily
effective on the date contained in the general waiver as
determined by the DOE, for non-disciplinary reasons. An
employee who separates under this Section shall continue to be
eligible for health insurance through September 5, 2022, unless
they are eligible for health insurance from another source

{@.g., a spouse’s coverage or another job).

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B. During the period of November 1, 2021: through November 30,
2021, any employee who is on leave without pay due to
vaccination status may alternately opt to extend the leave
through September 5, 2022. In order to extend this leave
pursuant to this Section, and continue to receive the
commensurate benefits, an employee must file a form created by
the DOE which includes a waiver cof the employee’s rights to
challenge the employee’s voluntary resignation, including, but
not limited to, through a contractual or statutory disciplinary
process. Employees who select this option shall continue to be
eligible for health insurance through September 5, 2022.
Employees who comply with the health order and who seek to
return from this leave, and so inform the DOE before September
5, 2022, shall have a right to return to the same school as
soon as is practicable but in no case more than two (2) weeks
following notice to the DOE. Existing rules regarding notice
of leave intention and rights to apply for other leaves still
apply. Employees who have not returned by September 5, 2022,
shall be deemed to have voluntarily resigned.

C. Beginning December 1, 2021, the DOE shall seek to unilaterally
separate employees who have not opted into separation under

Sections III{A) and III(B). Except for the express provisions

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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 59 of 96 PagelD #: 59

contained, herein, all parties retain all legal rights at all

times relevant, herein.

september / 1 , 2021.

Martin F. Scheinman, Esq.
Arbitrator

STATE OF NEW YORX )
) Ss.!
COUNTY OF NASSAU )
I, MARTIN F. SCHELNMAN, ESQ., ao hereby affirm upon my oath

as Arbitrator that I am the individual described herein and who

executed this instrument, which is my Aw :

September /) , 2021.

Martin F. Scheinman, Esq.
Arbitrator

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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 60 of 96 PagelD #: 60

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Case 21-2711, Document 117-1, 11/28/2021, 3218340, Page47 of 48

APPENDIX

United States Court of Appeals

FOR THE
SECOND CIRCUIT

At a stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
14th day of November, two thousand twenty-one.

Before: Pierre N. Leval,
José A. Cabranes,
Denny Chin,
Circuit Judges.

Michael Kane, William Castro, Margaret Chu,
Heather Clark, Stephanie Di Capua, Robert Gladding,
Nwakaego Nwaifejokwu, Ingrid Romero, Trinidad
Smith, Amaryllis Ruiz-Toro,

Plaintiffs-Appellants, ORDER
Vv. 21-2678-cv
Bill de Blasio, in his official capacity as Mayor of
the City of New York, David Chokshi, in his
official capacity of Health Commissioner of the
City of New York, New York City Department of
Education,

Defendants-Appellees.

Matthew Keil, John De Luca, Sasha Delgado,
Dennis Strk, Sarah Buzaglo,

Plaintiffs-Appellants,
v. 21-271 1-cv
The City of New York, Board of Education of the
City School District of New York, David Chokshi, in

his Official Capacity of Health Commissioner of the
City of New York, Meisha Porter, in her Official
Case 21-2711, Document 117-1, 11/28/2021, 3218340, Page48 of 48

Capacity as Chancellor of the New York City
Department of Education,

Defendants-Appellees.

The motions of Plaintiffs-Appellants (“Plaintiffs”) for an injunction pending appeal

having been heard at oral argument on November 10, 2021, and Defendants-Appellees
(“Defendants”) having represented to this Court that “the City is working toward making an
opportunity for reconsideration available more broadly to DOE employee{s] who unsuccessfully
sought religious exemptions pursuant to the arbitration award’s appeal process,” it is hereby

ORDERED that this appeal is expedited and will be heard by a merits panel sitting on

November 22, 2021 (the “merits panel”). Pending further order by the merits panel,

1.

Plaintiffs shall receive fresh consideration of their requests for a religious
accommodation by a central citywide panel consisting of representatives of the
Department of Citywide Administrative Services, the City Commission on Human
Rights, and the Office of the Corporation Counsel.

Such considération shall adhere to the standards established by Title VI of the Civil
Rights Act of 1964, the New York State Human Rights Law, and the New York City
Human Rights Law. Such consideration shall not be governed by the challenged criteria
set forth in Section IC of the arbitration award for United Federation of Teachers
members. Accommodations will be considered for all sincerely held religious
observances, practices, and beliefs.

Plaintiffs shall submit to the citywide panel any materials or information they wish to be
considered within two weeks of entry of this order. The citywide panel shall issue a
determination on each request no later than two weeks after a plaintiff has submitted such
information and materials. Within two business days of the entry of this order,
Defendants shall inform plaintiffs’ counsel how such information and materials should be
transmitted to the citywide panel.

The deadline to opt-in to the extended leave program and execute any accompanying
waiver shall be stayed for Plaintiffs, and no steps will be taken to terminate the plaintiff’ s
employment for noncompliance with the vaccination requirement.

If a plaintiff’ s request is granted by the citywide panel, the plaintiff will receive backpay
running from the date they were placed on leave without pay.

This order is intended only to provide for temporary interim relief until the matter is
considered by the merits panel of this court, which panel may entirely supersede these
provisions for interim relief, and the parties are at liberty to advocate to the merits panel
for alteration of these provisions. Unless the merits panel has previously entered a
superseding order, within two weeks of the conclusion of Plaintiffs’ proceedings before
the citywide panel, the parties shall inform the merits panel of the result of those
proceedings and advise of any further relief being sought.

FOR THE COURT:
Catherine O’Hagan Wolfe, Clerk
Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 63 of 96 PagelD #: 63

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Case 1:21-cv-06387-KAM-LB Document133 Filed 07/07/22 Page 1 of 3 PagelD #: 3528

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BY FEDERAL EXPRESS AIRBILL NO. 777327941330

AND BY ECF

Honorable Kiyo A. Matsumoto, U.S.D.J.

United States District Court, Eastern District of New York
225 Cadman Plaza East

Brooklyn, New York 11201

Re: Broecker, ef al. v. New York City Department of Education, et al.
Docket No, 2]-CV-06387-KAM-LB

Dear Judge Matsumoto:

This law firm represents the Plaintiffs in the above-referenced Action. The Plaintiffs
request permission to supplement their opposition to the Motions to Dismiss based upon new
documentary evidence obtained yesterday contained in the filing with the New York State
Supreme Court, County of New York in a newly filed litigation entitled Jn the Matter of the
Application of the Board of Education of the City School District of the City of New York, et al.
v. United Federation of Teachers, Local 2, AFT, AFL-CIO, et al. under Index Number
451995/2022 (“DOE Proceeding”), regarding a dispute over a new arbitration decision by the
Defendant Martin Scheinman (“Scheinman”) materially and relevant to the pending Motions to

Dismiss.

The New York Post reported yesterday on the DOE Proceeding which challenges
Scheinman’s Opinion and Award relating to 82 NYCDOE employees placed on leave without
pay by the New York City Department of Education (“NYCDOE”) for filing allegedly false
vaccine cards. See, Exhibit A, a copy of the New York Post article.

Through due diligence, we were able to find the NYCDOE’s filings in the DOE
Proceeding, which included the new Opinion and Award issued by Scheinman that directly
relates to the pending Motions to Dismiss in the above-referenced Action.
Case 1:21-cv-06387-KAM-LB Document 133 Filed 07/07/22 Page 2 of 3 PagelD #: 3529

THE SCHER LAW FIRM, LLP

Honorable Kiyo A. Matsumoto, U.S.D.J.

United States District Court, Eastern District of New York
July 7, 2022

Page 2 of 3

In Scheinman’s newest Opinion and Award (Exhibit B (“Opinion and Award”)),
Scheinman states with respect to the UFT Arbitration Award (“Award”):

... While the Department claims its action is unconnected with the
Award, it is the Award itself that created a new leave without pay.
Absent the Award, the Department was without the authority to
remove these employees from the payroll without providing a due

process hearing.

Leave without pay is an unusual outcome. Yet, I decided it was
appropriate for employees whose requests for a medical or
religious exemption were denied. This is because such employees
intentionally decided to disregard the mandate they be vaccinated
by September 27, 2021, the date established by Commissioner

Chokshi and Mayor de Blasio.

Exhibit B, at page 10.

This language, written by Scheinman in the Opinion and Award supports three arguments
previously made by the Plaintiffs in opposition to the Motions to Dismiss:

First, Scheinman’s words establish that but-for the Award, the NYCDOE could not have
placed the Plaintiffs on leave without pay. As Plaintiffs argued in opposition to the Defendants’
Motions, the Award was a violation of N.Y. Civil Service Law § 209.3.(f) and the numerous
cases that have interpreted the statute, including a case from the New York Court of Appeals and
numerous opinions issued by PERB. Therefore, if the Court finds that the Award violated N.Y.
Civil Service Law § 209.3.(f), as the Plaintiffs argue, then the NYCDOE did not have any
authority to place the Plaintiffs on leave without pay without due process, thereby violating the
Plaintiffs’ due process rights. Scheinman’s words are additional evidence that the Plaintiffs have
stated a plausible claim against the NYCDOE for a violation of 42 U.S.C. § 1983 meaning the

NYCDOE’s Motion to Dismiss should be denied.

Second, it was Scheinman who “created a new leave without pay” by issuing the Award.
Scheinman establishes, by his own words, that he actively participated in the violation of the
Plaintiffs’ due process rights by “creat[ing] a new leave without pay” policy. Scheinman was not
acting like an arbitrator who interpreted a contract or acted like an umpire in a dispute between
the NYCDOE and the United Federation of Teachers (“UFT”), but actively created new policy
that, as Scheinman admits, but-for his Award, “the Department was without the authority to
remove these employees from the payroll without providing a due process hearing.” Exhibit B,
Case 1:21-cv-06387-KAM-LB Document 133 Filed 07/07/22 Page 3 of 3 PagelD #: 3530

THE SCHER LAW FIRM, LLP

Honorable Kiyo A. Matsumoto, U.S.D.J.

United States District Court, Eastern District of New York
July 7, 2022

Page 3 of 3

at page 10. Scheinman’s own words establish that the Plaintiffs have stated a plausible claim for
a violation of 42 U.S.C. § 1983 against the NYCDOE and Scheinman because as he admits,
without his Award, the NYCDOE would have had to provide the Plaintiffs with due process
before placing them on leave without pay, admitting that his actions caused the Plaintiffs to
“suffer[ ] a denial of (their) federal statutory rights, or [their] constitutional! rights or privileges.”
Annis v. County of Westchester, 136 F.3d 239, 245 (2d Cir. 1998). Accordingly, the Scheinman

Defendants’ Motion to Dismiss must be denied.

Third, Scheinman confirms that it was him who “decided [leave without pay] was
appropriate”, which means that the NYCDOE and the UFT did not “continu[e] to negotiate until
an ‘agreement’ [was] reached” but instead the resolution of the NYCDOE’s and UFT’s impasse
was imposed by Scheinman in violation of N.Y. Civil Service Law § 209.3.(f). Matter of Buffalo
Teachers Federation v. City School District of the City of Buffalo, 49 PERB P4560 (2016).
Scheinman’s words confirm that the Award was a newly created and imposed remedy to the
school district’s impasse in negotiations with its union and therefore violated clear and
unambiguous statutory language requiring a school district, like the NYCDOE, and its union,
like the UFT, to overcome any impasse at the bargaining table and not through any other means.
As a result, Scheinman’s words support the Plaintiffs’ argument that they have a plausible claim
that the Award was promulgated and instituted without any statutory authority.

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The Plaintiffs thank the Court for its courtesies in accepting the Plaintiffs’ supplemental
filing, considering the Opinion and Award only came into the Plaintiffs’ possession yesterday
and the Plaintiffs believed, as shown above, that the Opinion and Award is material and relevant

to the pending Motions to Dismiss.

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THE SCHER K W FIRM, LLP

ce: Counsel of Record (by ECF)

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NYSCEF DOC. NO. 31

5 SCHEINMAN

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¥ ARBITRATION & MEDIATION SERVICES

June 27, 2022

Via E-Mail Only

Liz Vladeck, Esq.

New York City Department of Education
Office of the General Counsel

52 Chambers Street, Room 308

New York, NY 10007

Alan M. Klinger, Esq.

Stroock & Stroock & Lavan, L.L.P.
180 Maiden Lane, 33"! Floor

New York, NY 10038

Michael Mulgrew, President
Beth Norton, Esq.

United Federation of Teachers
52 Broadway, 14" Floor

New York, NY 10004

Re: Board of Education of the City School District of the City of New York
and
United Federation of Teachers, Local 2, AFT, AFL-CIO
(Proof of Vaccination)

Dear Counsel:

Enclosed please find my Opinion and Award in the above referenced matter.

I have also enclosed my bill for services rendered.

WREST. Goleman

Thank you.

MFS/sk

NYCDOE.UFT proof of vaccination trans

322 Main Street @ Port Washington, NY 11050 @ 516.944.1700 @ fax: 516.944.1771 @ www.ScheinmanNeutrals.com
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In the Matter of the Arbitration
Xx
between
x Re: Proof of
BOARD OF EDUCATION OF THE CITY Vaccination
SCHOOL DISTRICT OF THE CITY OF x
NEW YORK
x
“Department”
x
-and-
x
UNITED FEDERATION OF TEACHERS,
LOCAL 2, AFT, AFL-CIO x
“Union” Xx
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APPEARANCES

For the Department
Liz Vladeck, General Counsel

For the Union
STROOCK & STROOCK & LAVAN, L.L.P.
Alan M. Klinger, Esq.

Beth Norton, Esq., UFT General Counsel
Michael Mulgrew, UFT President

BEFORE: Martin F. Scheinman, Esq., Arbitrator
ITY CTPERir INDEX” NO 27'155220/2022
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NYSCEF DOC. NO.

BACKGROUND

The Union protests the Department’s decision to summarily
place approximately eighty two (82) Department employees on leave
without pay, with benefits, effective April 25, 2022. This action
was based upon information the Department received from a separate
investigative agency these employees’ proof of cCOVID-19
vaccination was allegedly fraudulent. The Union contends the issue
of whether the Department’s action is proper and falls within the

scope of my September 10, 2021, Award (“Award”).
Most of the basic facts are not in dispute.

In July 2021, former Mayor de Blasio announced a “Vaccine-
or-Test” mandate which required the City workforce, including the
educators, to either be vaccinated or undergo weekly testing for
the Covid-19 virus effective September 13, 2021. Thereafter, on
August 23, 2021, Mayor de Blasio and the New York City Commissioner
of Healtn and Mental Hygiene, David A. Chokshi, MD, announced a
new policy for those workforces in Department buildings. Those
employees would be subject to a “Vaccine Only” mandate. That is,
such employees would need to show by September 27, 2021, they had
at least started the vaccination protocol or would not be allowed
onto Department premises, would not be paid for work and would be

at risk of loss of job and benefits.
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This mandate was reflected in an Order of Commissioner
Chokshi, dated August 24, 2021. That Order, by its terms, did not
expressly provide for exceptions or accommodations for those with
medical contraindications to vaccination oor sincerely-held
religious objections to inoculation. Nor did it address matters

of due process with regard to job and benefits protection.

The Union promptly sought to bargain the impact = and
implementation of the Vaccine Only mandate. The parties had a

number of discussions, but important matters remained unresolved.

On September 1, 2021, the UFT filed a Declaration of Impasse
with the Public Employment Relations Board (“PERB”) as to material
matters. The Department did not challenge the statement of impasse
and PERB appointed me to mediate the matters. Mediation sessions
were held immediately on September 2, 3, 4 and 5, 2021, with some
days having multiple sessions. Progress was made, and certain
tentative understandings were reached, but significant matters
remained unresolved. By agreement of the parties, the process

moved to arbitration. They asked I serve as arbitrator.

Arbitration sessions were then held. On September 10, 2021,
I issued an Award which set forth a detailed procedure to be
followed in the cases of employees who sought an exemption to the
Vaccination Mandate based on a medical condition or religious

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In accordance with the procedure set forth in my Award,
employee requests for an exemption were initially submitted to the
Department along with any supporting documentation. An employee
wishing to appeal an adverse determination by the Department was
given the opportunity to appear at a hearing before an impartial
arbitrator who was authorized to render a final and binding
decision. Approximately five hundred (500) appeals were
determined by the arbitration process. Pending the arbitrator’s

decision, the employee could not be removed from the payroll.

On April 19, 2022, the Department informed approximately
eight two (82) employees they were being placed on leave without
pay, with benefits, effective April 25, 2022, based on allegations
their proof of COVID-19 vaccination was fraudulent. The employees
were told they could contact the Department if they believed the
allegation they submitted fraudulent proof of vaccination was
wrong. On April 21, 2022, the Union wrote the Department and
demanded it rescind its decision to remove these employees from

the payroll without the benefit of a due process hearing.

By letter dated April 22, 2022, the Department set forth its
position placement of these employees on a leave without pay status
did not constitute discipline, and, therefore, did not implicate
the disciplinary procedures set forth in the Education Law or the

parties’ Collective Bargaining Agreement (“Agreement”).
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Thereafter, by letter dated May 3, 2022, the Union wrote to
me requesting I take jurisdiction over this dispute. The Union
cited to that portion of the Award which states “should either
party have reason to believe the process set forth herein, is not
being implemented in good faith, it may bring a claim directly to

SAMS for expedited resolution”.

By letter dated May 4, 2022, the Department wrote in
opposition to the Union’s May 3, 2022, letter. The Department
stated it was in full compliance with my Award, as well as the
Agreement and applicable law. The Department also insisted this

IMatter was not properly before me.

On May 4, 2022, I conducted a conference call with the
parties. At that time, each side was given the opportunity to

argue their positions.

Thereafter, on May 6, 2022, the Union submitted further
argument in support of its position. The Department responded in

a letter dated May 10, 2022.

Upon my receipt of the parties’ written submissions, I closed

the record.
DISCUSSION AND FINDINGS

The Issues:

The basic issues to be decided are as follows:

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1. Is the Department’s decision to place the approximately
eighty two (82) employees on leave without pay, with
benefits, subject to my jurisdiction pursuant to the
September 10, 2021, Award? -

2. If so, what shall be the remedy?

Position of the Parties

The Department insists the facts of circumstances regarding
its placement of the eighty two (82) employees on leave without
pay, with benefits, is not within my jurisdiction pursuant to the
Award. According to the Department, the Award sets forth an
expedited process to review Department employees’ requests for
exemptions and accommodations from the August 21, 2021, mandate to
submit proof of COVID-19 vaccination by September 29, 2021. The
Department maintains the requests for an exemption or
accommodation were limited to medical and religious grounds. It

contends no other issue is covered by the Award.

The Department contends it placed the employees on a leave
without pay status as a result of the Department's receipt of
information from a law enforcement agency the employees in question
submitted fraudulent proof of vaccination in order to comply with
Commissioner Chokshi’s order which required vaccination of all

Department staff.

According to the Department, the Courts have held compliance

with the Commissioner Chokshi’s Order is a “condition of
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employment”. The Department maintains this situation is no
different to the Department’s unilateral action against an
employee who is not certified. As such, the Department maintains
placing employees on leave without pay for failing to comply with
the Commissioner Chokshi’s Order comports with applicable due
process procedures as long as notice is given, and the employee
has an opportunity to respond. In support of its position the
Department cites Broecker v. N.Y. Dep’t of Educ., 21-CV-6387,
2022 WL 426113 at *7-8 (E.D.N.Y. Feb. 11, 2022); and N.Y. City
Mun. Labor Comm. V. City of New York, 151169/2022 (Sup. Ct. N.Y.

County Apr. 21, 2022).

The Department argues employees who are identified in
connection with a law enforcement investigation into the
submission of fraudulent vaccination cards are outside the scope
of the Award. Furthermore, the Department insists the Award’s
reference to a party’s failure to implement the process does not
apply to the facts and circumstances presented, here. According
to the Department, the language relied upon by the Union refers
specifically to the “administrative process for the review and
determination of requests for religious and medical exemptions to
the mandatory vaccination policy and accommodation requests where
the requested accommodation is the employee not appear at school”.
The Department asserts since that process is not at issue, here,

the Union’s claim is misplaced.
(FILED: NEW YORK COUNTY CLERK 07/01/2022 Ui1;35 PM INDEMCNG .7155220/2022
NYSCEF DOC. NO. 31 RECEIVED NYSCEF: 07/01/2022

For the reasons set forth above, the Department contends the

Union’s request for relief pursuant to the Award must be denied.

The Union, on the other hand, argues the Department’s decision
‘to place these employees on leave without pay, with benefits, is
predicated on the Award. It insists this matter is subject to my
continued jurisdiction. The Union asserts the Agreement prohibits
an employee from being removed from the payroll without

establishing probable cause in a due process hearing. }

The Union maintains the Department’s contention this
situation is akin to the removal of an uncertified employee is
misplaced. According to the Union, approval of certification is
issued by the State. In addition, the Union insists an employee
is either certified by the State or is not, there is no underlying
question of fact to be determined. The Union asserts if an
employee proves they have completed all of the necessary paperwork,

but they are not yet certified, they will not be terminated.

The Union urges in this instance ‘the Department made a
unilateral decision to place the employees on leave, without pay,
based solely on a communication from another agency the employees
were not vaccinated. The Union contends the Department has no

direct knowledge of whether that assertion is true or false.

1 There are limited exceptions to this procedure which are
inapposite.
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31 RECEIVED NYSCEF: 07/01/2022

NYSCEF DOC. NO.

According to the Union, the Department removed the employees
from the payroll and subsequently allowed them to provide
additional evidence they are vaccinated. The Union maintains as
of May 6, 2022, employees who have contacted the Department
asserting they have been placed on leave without pay in error have

not received any response, yet they remain suspended without pay.

The Union asserts the only authority for the Department to
place employees on leave without pay, with benefits, is the Award.
It contends the Department is improperly invoking the Award, and
the action cannot be taken until the dispute concerning their

vaccination status is determined through the Award’s stated

process.

In short, the Union argues the Department’s unilateral
decision to place employees on leave without pay, with benefits,
based on the communication from another agency the employees are

not vaccinated falls within the jurisdiction of the Award.

Certain preliminary comments are appropriate. AS an
arbitrator my role is a limited one. In order for me to determine
whether I can assert jurisdiction over the Department’s actions as
alleged by the Union, I am limited by the language of the Award.
If the Award is clear, I must enforce it according to its plain

meaning.
(FILED: NEW YORK COUNTY CLERK 07/01/2022 01:35 PM INVES NO. °155220/2022

NYSCEF DOC. NO. 31 RECEIVED NYSCEF: 07/01/2022

With these principles in mind, I turn to the facts presented.

I find I have jurisdiction to consider this matter. While
the Department claims its action is unconnected with the Award, it
is the Award itself that created a new leave without pay. Absent
the Award, the Department was without the authority to remove these

employees from the payroll without providing a due process hearing.

Leave without pay is an unusual outcome. Yet, I decided it
was appropriate for employees whose requests for a medical or
religious exemption were denied. This is because such employees
intentionally decided to disregard the mandate they be vaccinated
by September 27, 2021, the date established by Commissioner Chokshi

and Mayor de Blasio.

Implicit in such a designation of leave without pay is the
individual failed to comply with the vaccine Imandate. Here, there
is a dispute whether the employees did or did not comply. Without
that being assessed, or at least submitting evidence to show a
high likelihood of non-compliance, the predicate for placing an

employee on leave without pay does not exist.

The Department’s decision to automatically place these
employees on leave without pay is inconsistent with the language
and underpinnings of my Award. Nothing in the Award grants the

Department such use of leave without pay status.

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FILED: NEW YORK COUNTY CLERK 07/01/2022 01:35 PM TNDBH’ NO .'155220/2022
NYSCEF DOC. NO. 31 RECEIVED NYSCEF: 07/01/2022

Based upon the above, I find the Department failed to properly
implement the due process protections of my Award. The Union has
the right to assert the Department’s process “is not implemented
in good faith.” To be clear, nothing in my Award was intended to
abrogate any due process rights the parties otherwise maintained

with regard to employment status.

I also disagree with the Department’s position the court
decisions it cites support the removal of these employees from pay
status without a hearing. Those court decisions confronted an
entirely different factual scenario. Unlike this matter, in those
cited cases, there was no claim the employees at issue were

vaccinated.

In denying the request for a preliminary injunction, Justice
Kim, in NYC Municipal Labor Committee, supra., specifically found
the absence of that factual issue in her determination. Here, of
course, the employees assert they are in fact vaccinated. This
raises a factual issue that is ripe for adjudication pursuant to

my Award.

Based on the reasons set forth above, I take jurisdiction
over the Department’s placement of the approximately eighty two
(82) employees placed on leave without pay, with benefits. The
parties shall meet within seven (7) calendar days of the date of

this Award to attempt to agree on a procedure to review an

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NYSCEF DOC. NO. 31 RECEIVED NYSCEF: 07/01/2022

employee’s claim they have submitted proof of vaccination. If the
parties are unable to agree on such a procedure, I _ shall
immediately schedule a hearing and issue an expedited Award
establishing the proper protocol to provide the employees the

appropriate due process procedure.

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RECEIVED NYSCEF: 07/01/2022

AWARD

1. Pursuant to Section 1L of my Award dated September
10, 2021, I shall assume jurisdiction over the
Department’s decision to place eighty two (82)
employees on leave without pay, with benefits,
effective April 25, 2022.

2. The parties shall meet within seven (7) calendar
days of the date of this Award to attempt to agree
on a procedure to review an employee’s claim they
have submitted proof of vaccination. If the
parties are unable to agree on such a procedure, I
shall immediately schedule a hearing and issue an
expedited Award establishing the proper protocol to
provide the employees the appropriate due process
procedure.

June Zl , 2022. /

Martin F. Scheinman, Esq.
Arbitrator

STATE OF NEW YORK )
8S.:
COUNTY OF NASSAU )
I, MARTIN F. SCHEINMAN, ESQ., do hereby affirm upon my oath

as Arbitrator that I am the individual described herein and who

executed this instrument, which is my Award.

June Z1 , 2022. —_

Martin @. Scheinman, Esq.
Arbitrator

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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 82 of 96 PagelD #: 82

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SCHEINMAN ARBITRATION AND MEDIATION SERVICES

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In the Matter of the Arbitration
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between
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NEW YORK CITY DEPARTMENT OF EDUCATION Re: UFT.542
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and
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JEAN JEAN
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Issue: be A, PS ton ,7
Date of Hearing:
Award
APPLICATION FOR EXEMPTION: GRANTED [ ] DENIED [XxX] OTHER [ J

Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 84 of 96 PagelD #: 84

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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 85 of 96 PagelD #: 85

Notice of Leave Without Pay - PLEASE READ

NYCDOE <noreply@schools.nyc.gov>
Sat 10/2/2021 3:10 PM
To: @schools.nyc.gov>

Department of
Education

Dear ;

You are receiving this message because you are being placed on a Leave Without Pay (LWOP)
because you are not in compliance with the DOE's COVID-19 Vaccine Mandate. If you area
substitute or in certain titles you have been placed in another inactive status, not a LWOP. This

means you must not report to your work or school site beginning Monday, October 4).
While you are on Leave Without Pay (LWOP), you:

* Cannot work and will not receive compensation, but you will continue your medical benefits
e Cannot use annual leave, CAR or sick time

* Cannot enter your work or school site

* Cannot reach out to students or families

In order to return from LWOP status, you must complete two steps using the DOE Vaccination
Portal

1. Upload proof that you have received your first dose of a COVID-19 vaccine. Proof of COVID-
19 Vaccine can be an image of your vaccination card, NYS Excelsior Pass, or another
government record

2. E-sign the attestation stating that you are willing to return to your worksite within seven
calendar days of submission.

Once you have completed these two steps, your HR Director and supervisor will also be notified
and will work with you to plan your return date.

If you have been vaccinated this weekend and upload this information by Monday morning,

you may report to work as usual on Monday, October qth and you will be put back on active
status.

On Monday, October 4th if you have an acceptable proof of vaccination (e.g., vaccination card, NY
State Excelsior pass, or other government record) but have not been able to upload to the DOE
Vaccination Portal, you may show your proof to the School Safety Agent and/or Principal (or
designee) at the door. You will be allowed in the building, and you must immediately upload proof
of vaccination to the Vaccination Portal and confirm that you would like to return to work in order to
ensure there is no break in payroll.

If you encounter technical issues accessing the Vaccination Portal, please contact the DOE Help
Desk by opening_a ticket online or calling 718-935-5100. If you need support uploading your proof
of vaccination, please contact your principal or HRD who can do so on your behalf.

Please be advised that if you do not intend to return to the DOE after October 1, 2021, you will need
to return all DOE property, including computers, IDs, blackberries, and keys, immediately. Failure

to return any DOE property that has been assigned to you will delay the Processing of your final
payment and any payout of leave time.
Employees represented by UFT or CSA who have been placed on LWOP due to vaccination status
may select (in SOLAS) special separation or leave options per the arbitration award:

¢ Separation with benefits (available in SOLAS as of Monday, October 4): Employees
choosing to separate under this option:

o Must share their intention to separate via SOLAS by October 29, 2021.

9° Will be required to waive their rights to challenge the involuntary resignation, including,
but not limited to, through a contractual or statutory disciplinary process

© Will be eligible to be reimbursed for unused CAR/sick leave on a one-for-one basis at
the rate of 1/200th of the employee's salary at departure per day, up to 100 days, to be
paid out following the employee's separation

° Will be eligible to maintain health insurance through September 5, 2022, unless they
have health insurance available from another source.

* Extend the leave without pay due to vaccination status through September 5, 2022
(available in SOLAS as of Monday, November 1 through November 30, 2021):

° Employees choosing this option will also be required to waive their rights to challenge
their involuntary resignation, including, but not limited to, through a contractual or
Statutory discipline process

© They will remain eligible for health insurance through September 5, 2022

© Employees who have not returned by September 5, 2022 shall be deemed to have
voluntarily resigned

¢ Beginning December 1, 2021, the DOE will seek to unilaterally separate employees who have
not selected one of the options above or otherwise separated service.

For more information about where to get vaccinated, visit vaccinefinder.nyc.gov or call 877-VAX-4-

NYC. For the latest COVID-19 staffing updates, please visit the Coronavirus Staff Update InfoHub
Rage.

Sincerely,

NYCDOE Division of Human Capital
Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 87 of 96 PagelD #: 87

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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 88 of 96 PagelD #: 88
Case 1:21-cv-07863-VEC Document 168-1 Filed 06/03/22 Page 8 of 8

From: Amato Eric <EAmato4@schools nyc.gov>
Date: Wed, Feb 9. 2022 at 8:06 AM

Subject: RE: PR code
To: i Michael Sill <msill@uft.org>
Cc: Be . Norton

<bnorton@uft.org>, Kking@uft.org <Kking@uft.org>. dcampbell@uft.org <dcampbell@uft.org>

PR = Problem code — Problem code was added to al! employees who were placed on 2VM vaccine
mandate leave. It was placed there the day you went on the leave. Our central offices placed this code
on all employees who went on the leave. It will be removed once you are eligible to return to work.

Thanks,
Eric
Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 89 of 96 PagelD #: 89

Exhibit T

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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 90 of 96 PagelD #: 90

‘Phone: 516.390.9640. ~ Fax: $16,200,968

163:03 Hofaite Harding Expressway +:Suite 100, Fresh Mosdows, NewYork 1165
: : Phtone::718.4544600 ~ Fax 716/454.3064

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September 14, 2021 :
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SUB: Kathleen Gamack oe 23
‘DOB: 6/4/1961 : . ;
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' a a
| To whom. it may concern:.
| This-letter‘is in reference, to Mig. Kathléen.Comack who.Is.currénily under my.cardiovascullar care. “des

Mrs: Gomack has.a cardiac history of palpitations and dizziness with subsequent cardiac. workeup revealing a ~
supraventricular tachycatdia (SVT), marked sinus-bradycardia and nonsustained ventricular tathycardia. ‘The. *
patient underwent an electroptysialogy stlidy, back in November'2020 at-St: Francis Hospital which fed to.an
‘tadiofrequency-ablation forthe SVT as well as implantation of a loop recorder to-monitor-forsany '
life-threatening:arrhytimias. Due to Mrs. Comack’s,Gnderlying cardiac condition it is-advisable that

" Mrs, Comack be. excused from:receiving:the COVID-19 vaccine due to potential side effects that might ‘
exacerbate her.underlying cardiag arrhythmias. (f there,are any ‘questions. or concems' regarding the above

} ‘matter please ‘free.to.contact me at any time...
at , | , ‘ t
‘ =H '
' / . Hi ’
‘ Sincerely, fy to : ‘ ¢
Antonjo:P! Madrid, M5. : . . bead ice ow
Electronically.signed:by Antonio P. Madrid, MD on'9/14/2021 rs *
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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 91 of 96 PagelD #: 91

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- 9/9/23, 10:43. AM Mail-- Comack Kathleen, - Outlook

Your COVID-19 Vaccine Medical Exemption Application - Determination

solas_dontreply@schools.nyc.gov <solas_dontreply@schools.nyc.gov>
Wed 9/22/2021 7:52 PM

To:Comack Kathleen <KComack@schools.nyc.gov>

09/22/2021

Case#: A77168
File# 0642560
EMP ID: 711184

Dear KATHLEEN COMACK,

This is to advise you that your request for a Medical Exemption to the COVID-19 Vaccine Mandate
has been denied for the following reason(s):

e Denial Reason: Medical condition not valid reason to defer or delay vaccination (e.g. not within
90 days after receiving antibody treatment, and not in treatment for conditions outlined in
CDC considerations that would temporarily interfere with the ability to respond adequately to
the vaccine)

e Additional Information: NA

Your application was reviewed in accordance with the ADA, the New York State and City Human
Rights Laws, as well as the Arbitration Award in the matter of your union and the Board of Education
regarding the vaccine mandate. . .

Under the terms of the Arbitration Award, you may appeal this denial to an independent arbitrator.
If you wish to appeal, you must do so within one school day of this notice by logging into SOLAS

https://dhmycaps.nycenet.edu/SOLAS and selecting the option: "I would like to APPEAL". As part of
the appeal, you may submit additional medical documentation and must provide a reason for the
appeal.

Sincerely,

HR Connect
Medical, Leaves, and Records Administration

Please do not reply to this message via e-mail. This emai! address is automated.

Ref Number : GX5918928 N3416 COVID-19_VAX_MedExemption_Denial (Al) Unians)

https://outiook.office.com/mail/inbox/id/AAQkADUIMjMwYWJhLTUyOWQINDOSNy1iZmVILTNMMDRIZmY3ZTg4MgAQAPul41 SIBZhCrvhupwGqM3U...

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Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 93 of 96 PagelD #: 93

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SCHEINMAN ARBITRATION AND MEDIATION SERVICES

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In the Matter of the Arbitration

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between
x
NEW YORK CITY DEPARTMENT OF EDUCATION
x
and
x
Kathleen Comack
x
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Issue: Medical Exemption

Re: UFT.1252

Date of Hearing: October 5, 2021

AWARD

APPLICATION FOR EXEMPTION: GRANTED [ ] DENIED

Hy OTHER [ ]

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Carol M. Hoffman, Esq. Date: Oct.5,2021

Arbitrator
Case 1:24-cv-02264-LDH-LB Document1 Filed 03/28/24 Page 95 of 96 PagelD #: 95

Exhibit L
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/ page
9/9/23, 10:57AM Mail «Gomack Kathleen “Outlook

Re: Your Pending Appeal for An Exemption to the COVID-19 Vaccine Mandate

Comack Kathleen <KComack@schools.nyc.gov>
Sun 10/3/2021 8:25 PM

To:Leddy Peter <PLeddy@schools.nyc.gov>
Thank you .

Get Outlook for iOS

From: Leddy Peter <PLeddy@schools.nyc.gov>

Sent: Sunday, October 3, 2021 10:42:20 AM

To: Comack Kathleen <KComack@schools.nyc.gov>

Subject: Re: Your Pending Appeal for An Exemption to the COVID-19 Vaccine Mandate

Ms. Comack,
| bring your attention to paragraph 4 of the email sent to you. This is a Central Administration
NYC DOE determination, not a school-based decision.

if your appeal is granted (approved) and you remain unvaccinated, you will not be put on a Leave
Without Pay status. If your usual place of work is in a school, you will receive a new assignment
outside of a school building (e.g. administrative offices) to perform academic or administrative work
determined by the DOE. A notification of this assignment may take a few days and in the interim you
should temporarily work offsite to transition your work and support related activities. During this time,
you should be available during regular work hours and check-in with your school’s payroll secretary for
timekeeping purposes. If your usual place of work is not in a school building, you should continue to
report to your regular location and assignment unless notified otherwise.

»

.

Peter Leddy

Principal

The Susan B. Anthony Academy, |.S. 238
www. twitter. com/IS238SBA
www.facebook,com/|S238SBA
https://www.instagram.com/is238sba/
88-15 182nd Street

Hollis, NY 11423

(718) 297-9821

"True heroism is remarkably sober, very undramatic. It is not the urge to surpass all others at
whatever cost, but the urge to serve others at whatever cost." - Arthur Ashe

From: Comack Kathleen <KComack@schools.nyc.gov>

Sent: Sunday, October 3, 2021 8:35 AM

To: Leddy Peter <PLeddy@schools.nyc.gov>

Subject: Fwd: Your Pending Appeal for An Exemption to the COVID-19 Vaccine Mandate

Dear Mr Leddy,

https://outlock.office.com/mail/inbox/id/AAQkADGIMJMwYWJhLTUyOWQINDQSNy1iZmVILTNmMORIZmY3ZTg4MgAQAHAID7BH1 tNDkTvePU2g6ns...

